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                    IN THE UNITED STATES DISTRICT COURT
                                                                  FILED
                     FOR THE DISTRICT OF SOUTH DAKOTA             APR 0 8 2016

ROSS HILL, ANGIE HILL, KEVIN      )
                                          )
                                                                  ~~
BRADBERRY, and CHRISTY BRADBERRY, )



vs.
      Plaintiffs,
                                         )
                                         )
                                         )

                                         )
                                          ) Case No.
                                                       ,
                                                       .

                                                       (o -   3() I b
BLUE CROSS BLUE SHIELD OF ALABAMA; )
PREMERA BLUE CROSS, ALSO DBA         )
PREMERA BLUE CROSS BLUE SHIELD OF ) CLASS ACTION COMPLAINT
ALASKA; BLUE CROSS BLUE SHIELD OF )
ARIZONA; USABLE MUTUAL INSURANCE ) JURY TRIAL DEMANDED
COMPANY, d/b/a ARKANSAS BLUE CROSS )
AND BLUE SHIELD; ANTHEM, INC., F/K/A )
WELLPOINT, INC., d/b/a ANTHEM BLUE   )
CROSS LIFE AND HEALTH INSURANCE      )
COMPANY, BLUE CROSS OF CALIFORNIA, )
BLUE CROSS OF SOUTHERN CALIFORNIA,)
BLUE CROSS OF NORTHERN CALIFORNIA,)
ROCKY MOUNTAIN HOSPITAL AND          )
MEDICAL SERVICE INC. d/b/a ANTHEM    )
BLUE CROSS BLUE SHIELD OF            )
COLORADO AND ANTHEM BLUE CROSS )
BLUE SHIELD OF NEVADA, ANTHEM        )
HEALTH PLANS, INC., d/b/a ANTHEM BLUE)
CROSS BLUE SHIELD OFCONNECTICUT, )
BLUE CROSS BLUE SHIELD OF GEORGIA, )
ANTHEM INSURANCE COMPANIES, INC., )
d/b/a ANTHEM BLUE CROSS BLUE SHIELD )
OFINDIANA, ANTHEM HEALTH PLANS OF )
KENTUCKY, INC., d/b/a ANTHEM BLUE    )
CROSS BLUE SHIELD OF KENTUCKY,       )
ANTHEM HEALTH PLANS OF MAINE, INC.,)
d/b/a ANTHEM BLUE CROSS BLUE SHIELD )
OF MAINE, ANTHEM BLUE CROSS BLUE )
SHIELD OF MISSOURI, RIGHTCHOICE      )
MANAGED CARE, INC., HEALTHY          )
ALLIANCE LIFE INSURANCE COMPANY, )
HMO MISSOURI INC., ANTHEM HEALTH )
PLANS OF NEW HAMPSHIRE d/b/a ANTHEM)
BLUE CROSS BLUE SHIELD OF NEW        )
HAMPSHIRE, EMPIRE HEALTHCHOICE       )
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ASSURANCE, INC. AS EMPIRE BLUE CROSS)
BLUE SHIELD, COMMUNITY INSURANCE )
COMPANY d/b/a ANTHEM BLUE CROSS       )
BLUE SHIELD OF OHIO, ANTHEM HEALTH)
PLANS OF VIRGINIA, INC., d/b/a ANTHEM )
BLUE CROSS AND BLUE SHIELD OF         )
VIRGINIA, AND ANTHEM BLUE CROSS       )
BLUE SHIELD OF WISCONSIN, COMPCARE)
HEALTH SERVICES INSURANCE             )
CORPORATION; CALIFORNIA               )
PHYSICIANS' SERVICE, D/B/A BLUE       )
SHIELD OF CALIFORNIA; HIGHMARK,       )
INC.; HIGHMARK BLUE CROSS BLUE        )
SHIELD DELAWARE, INC.; HIGHMARK       )
WESTVIRGINIA, INC.; CAREFIRST, INC.; )
GROUP HOSPITALIZATION AND MEDICAL)
SERVICES, INC. d/b/a CAREFIRST        )
BLUECROSS BLUESHIELD; CAREFIRST OF)
MARYLAND, INC. D/B/A CAREFIRST        )
BLUECROSS BLUESHIELD; BLUE CROSS )
AND BLUE SHIELD OF FLORIDA, INC.;     )
HAWAl'I MEDICAL SERVICE               )
ASSOCIATION d/b/a BLUE CROSS AND      )
BLUE SHIELD OF HAWAl'I; BLUE CROSS )
OF IDAHO HEALTH SERVICE, INC., d/b/a )
BLUE CROSS OF IDAHO; CAMBIA HEALTH)
SOLUTIONS, INC., f/d/b/a REGENCE      )
BLUESHIELD OF IDAHO, REGENCE BLUE )
CROSS BLUE SHIELD OF OREGON,          )
REGENCE BLUE CROSS BLUE SHIELD OF )
UTAH, AND REGENCE BLUE SHIELD         )
(IN WASHINGTON); HEALTH CARE          )
SERVICE CORPORATION, d/b/a BLUE       )
CROSS AND BLUE SHIELD OF ILLINOIS,    )
BLUE CROSS AND BLUE SHIELD OF NEW )
MEXICO, BLUE CROSS AND BLUE SHIELD )
OF OKLAHOMA, BLUE CROSS AND BLUE )
SHIELD OF MONTANA, AND BLUE CROSS )
BLUE SHIELD OF TEXAS; CARING FOR      )
MONTANANS, INC.; WELLMARK,            )
INC., d/b/a WELLMARK BLUE CROSS AND )
BLUE SHIELD OF IOWA; WELLMARK OF )
SOUTH DAKOTA, INC., d/b/a BLUE CROSS )
AND BLUE SHIELD OF SOUTH DAKOTA;      )
BLUE CROSS AND BLUE SHIELD OF         )
KANSAS, INC.; LOUISIANA HEALTH        )
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SERVICE & INDEMNITY COMPANY d/b/a )
BLUE CROSS AND BLUE SHIELD OF       )
LOUISIANA; BLUE CROSS AND BLUE      )
SHIELD OF MASSACHUSETTS, INC.;      )
BLUE CROSS BLUE SHIELD OF MICHIGAN;)
BCBSM, INC., d/b/a BLUE CROSS AND   )
BLUE SHIELD OF MINNESOTA; BLUE      )
CROSS BLUE SHIELD OF MISSISSIPPI;   )
BLUE CROSS AND BLUE SHIELD OF       )
KANSAS CITY; BLUE CROSS AND BLUE    )
SHIELD OF NEBRASKA; HORIZON         )
HEALTHCARE SERVICES, INC., d/b/a    )
HORIZON BLUE CROSS AND BLUE SHIELD)
OF NEW JERSEY; HEALTHNOWNEW         )
YORK INC., d/b/a BLUECROSS          )
BLUESHIELD OF WESTERN NEW YORK      )
AND BLUESHIELD OF NORTHEASTERN      )
NEW YORK; EXCELLUS HEALTH PLAN, )
INC., d/b/a EXCELLUS BLUECROSS      )
BLUESHIELD; BLUE CROSS AND BLUE     )
SHIELD OF NORTH CAROLINA, INC.;     )
NORIDIAN MUTUAL INSURANCE           )
COMPANY d/b/a BLUE CROSS BLUE       )
SHIELD OF NORTH DAKOTA; HOSPITAL )
SERVICE ASSOCIATION OF              )
NORTHEASTERN PENNSYLVANIA d/b/a     )
BLUE CROSS OF NORTHEASTERN          )
PENNSYLVANIA; CAPITAL BLUECROSS; )
INDEPENDENCE HOSPITAL INDEMNITY )
PLAN, INC., f/k/a INDEPENDENCE BLUE )
CROSS; TRIPLE-S SALUD, INC.; BLUE   )
CROSS & BLUE SHIELD OF RHODE        )
ISLAND; BLUE CROSS AND BLUE SHIELD )
OF SOUTH CAROLINA; BLUE CROSS BLUE )
SHIELD OF TENNESSEE, INC.; BLUE     )
CROSS AND BLUE SHIELD OF VERMONT; )
BLUE CROSS BLUE SHIELD OF WYOMING;)
and BLUE CROSS AND BLUE SHIELD      )
ASSOCIATION,                        )
                                        )
     Defendants.                         )
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                                                     CLASS ACTION COMPLAINT


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       Plaintiffs Ross and Angie Hill and Kevin and Christy Bradberry (collectively referred to

herein as "Plaintiffs"), on behalf of themselves and all others similarly situated, for their

Complaint against Defendants Blue Cross Blue Shield of Alabama ("BCBS-AL"); Premera Blue

Cross ("BC-WA"), which also does business as Premera Blue Cross Blue Shield of Alaska

("BCBS-AK"); Blue Cross Blue Shield of Arizona ("BCBS-AZ"); USAble Mutual Insurance

Company, d/b/a Arkansas Blue Cross and Blue Shield ("BCBS-AR"); Anthem, Inc., f/k/a

WellPoint, Inc., d/b/a Anthem Blue Cross Life and Health Insurance Company and Blue Cross of

California as well as Blue Cross of Southern California and Blue Cross of Northern California

(together, "BC-CA"), Rocky Mountain Hospital & Medical Service Inc., d/b/a Anthem Blue

Cross Blue Shield of Colorado ("BCBS-CO") and Anthem Blue Cross Blue Shield of Nevada

("BCBS-NV"), Anthem Health Plans, Inc., d/b/a Anthem Blue Cross Blue Shield of Connecticut

("BCBS-CT"), Blue Cross Blue Shield of Georgia ("BCBS-GA"), Anthem Insurance

Companies, Inc., d/b/a Anthem Blue Cross Blue Shield of Indiana ("BCBS-IN"), Anthem Health

Plans of Kentucky, Inc., d/b/a Anthem Blue Cross Blue Shield of Kentucky ("BCBS-KY"),

Anthem Health Plans of Maine, Inc., d/b/a Anthem Blue Cross Blue Shield of Maine ("BCBS-

ME"), Anthem Blue Cross Blue Shield of Missouri as well as RightCHOICE Managed Care,

Inc., Healthy Alliance Life Insurance Company and HMO Missouri Inc. (collectively "BCBS-

MO"), Anthem Health Plans of New Hampshire d/b/a Anthem Blue Cross Blue Shield of New

Hampshire ("BCBS-NH"), Empire HealthChoice Assurance, Inc. d/b/a Empire Blue Cross Blue

Shield ("Empire BCBS"), Community Insurance Company d/b/a Anthem Blue Cross Blue Shield

of Ohio ("BCBS-OH"), Anthem Health Plans of Virginia, Inc., d/b/a Anthem Blue Cross and

Blue Shield of Virginia ("BCBS-VA"), and Anthem Blue Cross Blue Shield of Wisconsin and



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Compcare Health Services Insurance Corporation (collectively "BCBS-WI"); California

Physicians' Service, d/b/a Blue Shield of California ("BS-CA"); Highmark, Inc. ("Highmark

BCBS"); Highmark West Virginia, Inc. ("BCBS-WV"); Highmark Blue Cross Blue Shield

Delaware, Inc. ("BCBS-DE"); CareFirst, Inc. (a/k/a CareFirst BlueCross BlueShield); Group

Hospitalization and Medical Services, Inc., d/b/a CareFirst BlueCross BlueShield ("BCBS-DC");

CareFirst of Maryland, Inc., d/b/a Carefirst BlueCross BlueShield ("BCBS-MD"); Blue Cross

and Blue Shield of Florida, Inc. ("BCBS-FL"); Hawai'i Medical Service Association d/b/a Blue

Cross and Blue Shield of Hawai'i ("BCBS-HI"); Blue Cross of Idaho Health Service, Inc. d/b/a

Blue Cross of Idaho ("BC-ID"); Cambia Health Solutions, Inc., f/d/b/a Regence BlueShield of

Idaho ("BS-ID"), Regence Blue Cross Blue Shield of Oregon ("BCBS-OR"), Regence Blue

Cross Blue Shield of Utah ("BCBS-UT"), and Regence Blue Shield (in Washington) ("BS-

WA"); Health Care Service Corporation, d/b/a Blue Cross and Blue Shield of Illinois ("BCBS-

IL"), Blue Cross and Blue Shield of Montana, (BCBS-MT"), Blue Cross and Blue Shield of New

Mexico ("BCBS-NM"), Blue Cross and Blue Shield of Oklahoma ("BCBS-OK"), and Blue

Cross and Blue Shield of Texas ("BCBS-TX"); Caring for Montanans, Inc.; Wellmark, Inc. d/b/a

Wellmark Blue Cross and Blue Shield of Iowa ("BCBS-IA"); Wellmark of South Dakota, Inc.,

d/b/a Blue Cross and Blue Shield of South Dakota ("BCBS-SD"); Blue Cross and Blue Shield of

Kansas, Inc. ("BCBS-KS"); Louisiana Health Service & Indemnity Company d/b/a Blue Cross

and Blue Shield of Louisiana ("BCBS-LA"); Blue Cross and Blue Shield of Massachusetts, Inc.

("BCBS-MA"); Blue Cross Blue Shield of Michigan ("BCBS-MI"); BCBSM, Inc., d/b/a Blue

Cross and Blue Shield of Minnesota ("BCBS-MN"); Blue Cross Blue Shield of Mississippi

("BCBS-MS"); Blue Cross and Blue Shield of Kansas City ("BCBS-KC"); Blue Cross and Blue

Shield of Nebraska ("BCBS-NE"); Horizon Healthcare Services, Inc., d/b/a Horizon Blue Cross



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Blue Shield of New Jersey ("BCBS-NJ"); HealthNow New York, Inc., d/b/a BlueCross

BlueShield of Western New York ("BCBS-Western NY") and BlueShield of Northeastern New

York ("BS-Northeastern NY"); Excellus Health Plan, Inc., d/b/a Excellus BlueCross BlueShield

("Excellus BCBS"); Blue Cross and Blue Shield of North Carolina, Inc. ("BCBS-NC"); Noridian

Mutual Insurance Company d/b/a Blue Cross Blue Shield of North Dakota ("BCBS-ND");

Hospital Service Association of Northeastern Pennsylvania d/b/a Blue Cross of Northeastern

Pennsylvania ("BC-Northeastern PA"); Capital BlueCross ("Capital BC"); Independence

Hospital Indemnity Plan, Inc., f/k/a Independence Blue Cross ("Independence BC"); Triple S-

Salud, Inc. ("BCBS-Puerto Rico"); Blue Cross and Blue Shield of Rhode Island ("BCBS-RI");

Blue Cross and Blue Shield of South Carolina ("BCBS-SC"); Blue Cross Blue Shield of

Tennessee, Inc. ("BCBS-TN"); Blue Cross and Blue Shield of Vermont ("BCBS-VT"); and Blue

Cross Blue Shield of Wyoming ("BCBS-WY") (collectively, the "Individual Blue Plans"); and

the Blue Cross and Blue Shield Association ("BCBSA"), allege as follows:


                                    NATURE OF THE CASE

       1.      The Supreme Court has repeatedly stated: "Collusion is the supreme evil of

antitrust." FTC v. Actavis, Inc., 133 S. Ct. 2223, 2233 (2013). The Supreme Court has also

explained the types of collusion long condemned by the antitrust laws: "Certain agreements, such

as horizontal price fixing and market allocation, are thought so inherently anticompetitive that

each is illegal per se without inquiry into the harm it has actually caused." Copperweld Corp. v.

Independence Tube Corp., 467 U.S. 752, 768 (1984). These prohibitions on per se illegal

conduct are at the core of antitrust law's protection of our free enterprise system. As Robert Bork

has explained about "the doctrine of per se illegality ... (e.g., price fixing and market division)":




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"Its contributions to consumer welfare over the decades have been enormous." Robert H. Bork,

The Antitrust Paradox 263 (rev. ed. 1993).

       2.      This is a class action brought on behalf of subscribers of BCBS-SD health

insurance to enjoin an ongoing conspiracy between and among BCBS-SD, the Individual Blue

Plans and BCBSA to allocate markets in violation of the prohibitions of the Sherman Act. In

addition, this action seeks to recover damages for a class of subscribers in the form of both (a)

supra-competitive premiums that BCBS-SD has charged, and (b) the difference between what

subscribers have paid BCBS-SD and the lower competitive premiums that non-competing Blue

plans would have charged, all as a result of this illegal conspiracy. This action also seeks these

damages as a result of anticompetitive conduct BCBS-SD has taken in its illegal efforts to

establish and maintain monopoly power throughout this state. This action also asserts related

claims under the law of South Dakota.

       3.      The Antitrust Division of the Department of Justice defines per se illegal market

division as follows: "Market division or allocation schemes are agreements in which competitors

divide markets among themselves. In such schemes, competing firms allocate specific customers

or types of customers, products, or territories among themselves. For example, one competitor

will be allowed to sell to, or bid on contracts let by, certain customers or types of customers. In

return, he or she will not sell to, or bid on contracts let by, customers allocated to the other

competitors. In other schemes, competitors agree to sell only to customers in certain geographic

areas and refuse to sell to, or quote intentionally high prices to, customers in geographic areas

allocated to conspirator companies."

       4.      Defendants are engaging in and have engaged in per se illegal market division.

These market allocation agreements are reached and implemented in part through the Blue Cross



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and Blue Shield license agreements between each of the Individual Blue Plans and BCBSA, an

association owned and controlled by all of the Individual Blue Plans, as well as the BCBSA

Membership Standards and Guidelines. In part through the artifice of the Plan-owned and

controlled BCBSA, an entity that the Individual Blue Plans created and wholly control,

Defendants have engaged in prohibited market allocation by entering into per se illegal

agreements under the federal antitrust laws that:

               a. Prohibit the Individual Blue Plans from competing against each other using

                  the Blue name by allocating territories among the individual Blues;

               b. Limit the Individual Blue Plans from competing against each other, even

                   when they are not using the Blue name, by mandating the percentage of their

                  business that they must do under the Blue name, both inside and outside each

                  Plan's territory; and/or

               c. Restrict the right of any Individual Blue Plan to be sold to a company that is

                  not a member of BCBSA, thereby preventing new entrants into the. individual

                  Blues' markets.

       5.      An Individual Blue Plan that violates one or more of these restrictions faces

license and membership termination from BCBSA, which would mean both the loss of the brand

through which it derives the majority of its revenue and the required payment of a large fee to

BCBSA that would help to fund the establishment of a competing health insurer.

       6.      These territorial limitations among actual or potential competitors (i.e. horizontal

parties) severely limit the ability of the Individual Blue Plans to compete outside of their

geographic areas, even under their non-Blue brands.




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       7.      Many of the Individual Blue Plans have developed substantial non-Blue brands

that could compete with other of the Individual Blue Plans. But for the illegal agreements not to

compete with one another, these entities could and would use their Blue brands and non-Blue

brands to compete with each other throughout their Service Areas, which would result in greater

competition and competitively priced premiums for subscribers.

       8.     The Individual Blue Plans enjoy remarkable market dominance in regions

throughout the United States, and in particular, within South Dakota. The Blue Plans agreed to

entrench and perpetuate the dominant market position that each of them has historically enjoyed

in its specifically defined geographic market ("Service Area"), insulating the Individual Blue

Plans from competition in each of their respective service areas. Their dominant market shares

are the direct result of the illegal conspiracy to unlawfully divide and allocate the geographic

markets for health insurance in the United States. This series of agreements has enabled many

Individual Blue Plans, including Defendants in this case, to acquire and maintain grossly

disproportionate market shares for health insurance products in their respective regions, where

these Plans enjoy market and monopoly power.

       9.     The Individual Blue Plans' anticompetitive conduct has also resulted in higher

premiums for their enrollees for over a decade. This anticompetitive behavior, and the lack of

competition the Individual Blue Plans face because of their market allocation scheme and

monopoly power and anticompetitive behavior, have prevented subscribers from being offered

competitive prices and have caused supra-competitive premiums charged to Plan customers.

       10.    These inflated premiums would not be possible if the market for health insurance

in these Individual Blue Plans' Service Areas were truly competitive. Competition is not possible

so long as the Individual Blue Plans and BCBSA are permitted to enter into agreements that have



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the actual and intended effect of restricting the ability of thirty-six of the nation's largest health

insurance companies from competing with each other.




                                  JURISDICTION AND VENUE

       11.     This Court has federal question jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1337(a) because Plaintiffs bring their claims under Sections 4 and 16 of the Clayton Act, 15

U.S.C. §§ 15 and 26, to recover treble damages and costs of suit, including reasonable attorneys'

fees, against the Individual Blue Plans and BCBSA for the injuries sustained by Plaintiffs and the

Class by reason of the violations, as hereinafter alleged, of §§ 1 and 2 of the Sherman Act, 15

U.S.C. §§ 1 and 2.

       12.     This Court also has supplemental jurisdiction over the state claims asserted herein

pursuant to 28 U.S.C. § 1367(a).

       13.     This Court can assert personal jurisdiction over each defendant pursuant to

Section 12 of the Clayton Act and/or pursuant to this state's long-arm statute under one or more

of the theories below:

               a. Each defendant has purposefully availed itself of the privilege of conducting

                     business activities within this state and has the requisite minimum contacts

                     with it because each defendant participated in a conspiracy which injured

                     subscribers in this state and overt acts in furtherance of the conspiracy were

                     committed within this state; and/or

               b. Each defendant has purposefully availed itself of the privilege of conducting

                     business activities within this state and has the requisite minimum contacts




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                   with it because each defendant committed intentional acts that were intended

                   to cause and did cause injury within this state; and/or

              c. Each defendant has purposefully availed itself of the privilege of conducting

                   business activities within this state and has the requisite minimum contacts

                   with it because each defendant committed intentional acts that defendants

                   knew were likely to cause injury within this state; and/or

              d. Each defendant has purposefully availed itself of the privilege of conducting

                   business activities within this state and has the requisite minimum contacts

                   with it because each defendant is a party to an anticompetitive agreement with

                   a resident of this state, which agreement is performed in whole or in part

                   within this state; and/or

              e. Each defendant has purposefully availed itself of the privilege of conducting

                   business activities within this state and has the requisite minimum contacts

                   with it because each defendant has committed a tort within this state, which

                   ·has caused injury within this state; and/or

              f.   Each defendant has purposefully availed itself of the privilege of conducting

                   business activities within this state and has the requisite minimum contacts

                   with it because each defendant either has members within this state or

                   transacts business within this state, either via the BlueCard program or

                   otherwise.

       14.    Venue is proper in this district pursuant to Sections 4, 12, and 16 of the Clayton

Act, 15 U.S.C. §§ 15, 22, and 26, and 28 U.S.C. § 1391.




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          15.   Plaintiffs note that they do not waive their rights under Lexecon, Inc. v. Mi/berg

Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998).

                                              PARTIES

Plaintiffs

          16.   Plaintiffs Ross and Angie Hill ("the Hills") are South Dakota residents. The

Hills purchased BCBS-SD health insurance during the relevant class period.

          17.   Plaintiffs Kevin and Christy Bradberry ("the Bradberrvs") are South Dakota

residents. The Bradberrys purchased BCBS-SD health insurance during the relevant class period.

          18.   The Hills and the Bradberrys are unaware of any arbitration agreements that

would govern the claims they assert herein.


Defendants

          19.   Defendant BCBSA is a corporation organized under the state of Illinois and

headquartered in Chicago, Illinois. It is owned and controlled by thirty-six (36) health insurance

plans that operate under the Blue Cross and Blue Shield trademarks and trade names. BCBSA

was created by these plans and operates as a licensor for these plans. Health insurance plans

operating under the Blue Cross and Blue Shield trademarks and trade names provide health

insurance coverage for approximately 100 million - or one in three - Americans. A BCBS

licensee is the largest health insurer, as measured by number of subscribers, in forty-four (44)

states.

          20.   The principal headquarters for BCBSA is located at 225 North Michigan Avenue,

Chicago, IL 60601.

          21.   BCBSA has contacts with all 50 States, the District of Columbia, and Puerto Rico

by virtue of its agreements and contacts with the Individual Blue Plans. In particular, BCBSA


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has entered into a series of license agreements with the Individual Blue Plans that control the

geographic areas in which the Individual Blue Plans can operate. These agreements are a subject

of this Complaint.

       22.     Defendant BCBS-AL is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in the state of Alabama. Like many other Blue

Cross and Blue Shield plans nationwide, BCBS-AL is the largest health insurer, as measured by

number of subscribers, within its service area, which is defined as the state of Alabama.

       23.     The principal headquarters for BCBS-AL is located at 450 Riverchase Parkway

East, Birmingham, AL 35244. BCBS-AL does business in each county in the state of Alabama.

       24.     BCBS-AL is by far the largest health insurance company operating in Alabama

and currently exercises market power in the commercial health insurance market throughout

Alabama. As of 2008, at least 93 percent of the Alabama residents who subscribe to full-service

commercial health insurance (whether through group plans or through individual policies) are

subscribers of BCBS-AL. As of 2011, BCBS-AL maintained 86 percent market share in the

individual market, and 96 percent market share in the small group market. Two recent studies

concluded that Alabama has the least competitive health insurance market in the country.

Alabama's Department of Insurance Commissioner has recognized that ''the state's health

insurance market has been in a non-competitive posture for many years."

       25.     As the dominant player in Alabama, BCBS-AL has led the way in causing

premiums to be increased each year. From 2006 to 2010, BCBS-AL small group policy

premiums rose 28 percent from 2006 to 2010 per member per month. In 2010, BCBS-AL raised

some premiums by as much as 17 percent and others by as much as 21 percent. The National

Association oflnsurance Commissioners reports that BCBS-AL's premiums increased almost 42



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percent over the past several years. As a result of these and other inflated premiums, between

2001 and 2009, BCBS-AL increased its surplus from $433.7 million to $649 million. In 2011,

BCBS-AL reported net income of $256.92 million, 58 percent higher than the previous year,

resulting in a profit of almost $94 million for FY 2011. From 2000 to 2009, the average

employer-sponsored health insurance premium for families in Alabama increased by

approximately 88. 7 percent, whereas median earnings rose only 22.4 percent during that same

period.

          26.   Defendant BCBS-AK is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and tradenames in Alaska. Like many other Blue Cross and Blue

Shield plans nationwide, BCBS-AK is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Alaska.

          27.   The principal headquarters for BCBS-AK is located at 2550 Denali Street, Suite

1404, Anchorage, AK 99503. BCBS-AK does business in each county in Alaska.

          28.   BCBS-AK currently exercises market power in the commercial health insurance

market throughout Alaska. As of 2010, approximately 60 percent of the Alaska residents who

subscribe to full-service commercial health insurance (whether through group plans or through

individual policies) are subscribers of BCBS-AK - vastly more than are subscribers of the next

largest commercial insurer operating in Alaska, Aetna, which carries approximately 30 percent

of such subscribers. As of 2011, BCBS-AK held at least a 58 percent share of the individual full-

service commercial health insurance market and at least a 72 percent share of the small group

full-service commercial health insurance market.

          29.   As the dominant insurer in Alaska, BCBS-AK has led the way in causing supra-

competitive prices. From 2000 to 2007, median insurance premiums in Alaska increased nearly



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74 percent while median income increased only 13 percent. Thus, health insurance premiums

increased nearly six times faster than income in Alaska during that period. In 2011 alone, BCBS-

AK reported reserves of more than $1 billion.

        30.    Defendant BCBS-AR is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Arkansas. Like many other Blue Cross and Blue

Shield plans nationwide, BCBS-AR is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Arkansas.

       31.     The principal headquarters for BCBS-AR is located at 601 S. Gaines Street, Little

Rock, Arkansas, 72201. BCBS-AR does business in each county in Arkansas.

       32.     BCBS-AR currently exercises market power in the commercial health insurance

market throughout Arkansas. As of 2010, at least 78 percent of the Arkansas residents who

subscribe to full-service individual commercial health insurance and at least 55 percent of the

Arkansas residents who subscribe to small group policies are subscribers of BCBS-AR - vastly

more than are subscribers of the next largest commercial insurer operating in Arkansas, which

carries only 7 percent of individual subscribers and 19 percent of small group subscribers.

       33.     As the dominant insurer in Arkansas, BCBS-AR has led the way in causing

premiums to be increased each year. As a result, from 2007 to 2011, BCBS-AR's net income

increased by 64 percent, while its membership remained relatively flat, growing by only 5

percent; as of 2011, it increased its surplus to a stunning $581. 7 million.

       34.     Defendant BCBS-AZ is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Arizona. Like many other Blue Cross and Blue

Shield plans nationwide, BCBS-AZ is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Arizona.



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        35.     The principal headquarters for BCBS-AZ is located at 2444 West Las Palmaritas

Drive, Phoenix, AZ 85021. BCBS-AZ does business in each county in Arizona.

        36.     BCBS-AZ currently exercises market power in the commercial health insurance

market throughout Arizona. As of 2011, at least 49 percent of the Arizona residents who

subscribe to full-service individual commercial health insurance and at least 26 percent of the

Arizona residents who subscribe to small group policies are subscribers ofBCBS-AZ.

        37.    As the dominant insurer in Arizona, BCBS-AZ has led the way in causing supra-

competitive prices. As a result, by 2010, BCBS-AZ held surpluses in excess of $570 million.

        38.    Defendant BC-CA is the health insurance plan operating under the Blue Cross

trademark and tradename in California. Like many other Blue Cross and Blue Shield plans

nationwide, BC-CA is the largest health insurer, as measured by number of subscribers, within

its service area, which is defined as the state of California.

        39.    The principal headquarters for BC-CA is located at One WellPoint Way,

Thousand Oaks, CA 91362. BC-CA does business in each county in California.

       40.     Defendant BS-CA is the health insurance plan operating under the Blue Shield

trademark and tradename in California. Like many other Blue Cross and Blue Shield plans

nationwide, BS-CA is one of the largest health insurers, as measured by number of subscribers,

within its service area, which is defined as the state of California.

       41.     The principal headquarters for BS-CA is located at 50 Beale Street, San

Francisco, CA 94105-1808. BS-CA does business in each county in California.

       42.     BC-CA, together with BS-CA, currently exercises market power in the relevant

commercial health insurance markets throughout California. As of 2010, at least 29 percent of

the California residents who subscribe to full-service commercial health insurance are BC-CA



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subscribers alone; as of 2011, at least 37 percent of the California residents who subscribe to

individual full-service commercial health insurance and at least 15 percent of the California

residents who subscribe to small group full-service commercial health insurance are BC-CA

subscribers alone.

        43.        As the dominant insurers in California, BC-CA and BS-CA have led the way in

causing supra-competitive prices. As one result, by 2010, BS-CA alone held surpluses in excess

of $2.2 billion.

        44.        Defendant BCBS-CO is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in Colorado. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-CO is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Colorado.

        45.        The principal headquarters for BCBS-CO is located at 120 Monument Circle,

Indianapolis, IN 46204. BCBS-CO does business in each county in Colorado.

        46.        BCBS-CO currently exercises market power in the commercial health insurance

market throughout Colorado. As of 2010, at least 22 percent of the Colorado residents who

subscribe to full-service commercial health insurance are subscribers of BCBS-CO.

        47.        As the dominant insurer in Colorado, BCBS-CO has led the way in causing supra-

competitive prices.

        48.        Defendant BCBS-CT is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Connecticut. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-CT is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Connecticut.




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       49.     The principal headquarters for BCBS-CT is located at 108 Leigus Road,

Wallingford, CT 06492. BCBS-CT does business in each county in Connecticut.

       50.     BCBS-CT currently exercises market power in the commercial health insurance

market throughout Connecticut. As of 2011, at least 48 percent of the Connecticut residents who

subscribe to full-service individual commercial health insurance and at least 31 percent of the

Connecticut residents who subscribe to small group policies are subscribers ofBCBS-CT.

       51.     As the dominant insurer in Connecticut, BCBS-CT has led the way in causing

supra-competitive prices.

       52.     Defendant BCBS-DE is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Delaware. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-DE is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Delaware.

       53.     The principal headquarters for BCBS-DE is located at 800 Delaware Avenue,

Wilmington, DE 19801. BCBS-DE does business in each county in Delaware.

       54.     BCBS-DE currently exercises market power in the commercial health insurance

market throughout Delaware. As of 2011, at least 51 percent of the Delaware residents who

subscribe to full-service individual commercial health insurance and at least 61 percent of the

Delaware residents who subscribe to small group policies are subscribers ofBCBS-DE.

       55.     As the dominant insurer in Delaware, BCBS-DE has led the way in causing supra-

competitive prices. As a result, by mid-2011, it had built a surplus of over $180 million, an

increase of 48 percent since the end of 2008.

       56.     Defendant BCBS-FL is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Florida. Like other Blue Cross and Blue Shield



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plans nationwide, BCBS-FL is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Florida.

       57.     The principal headquarters for BCBS-FL is located at 4800 Deerwood Campus

Parkway, Jacksonville, FL 32246. BCBS-FL does business in each county in Florida.

       58.     BCBS-FL currently exercises market power in the commercial health insurance

market throughout Florida. As of 2010, at least 31 percent of the Florida residents who subscribe

to full-service commercial health insurance (whether through group plans or through individual

policies), and as much as 83 percent of those residents in certain regions of the state, are

subscribers of BCBS-FL. As of 2011, at least 48 percent of the Florida residents who subscribe

to individual full-service commercial health insurance and at least 28 percent of the Florida

residents who subscribe to small group full-service commercial health insurance are BCBS-FL

subscribers.

       59.     As the dominant insurer in Florida, BCBS-FL has led the way in causing supra-

competitive prices.

       60.     Defendant BCBS-GA is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Georgia. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-GA is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Georgia.

       61.     The principal headquarters for BCBS-GA is located at 3350 Peachtree Road NE,

Atlanta, GA 30326. BCBS-GA does business in each county in Georgia.

       62.     BCBS-GA currently exercises market power in the commercial health insurance

market throughout Arizona. As of 2011, at least 48 percent of the Georgia residents who




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subscribe to full-service individual commercial health insurance and at least 41 percent of the

Georgia residents who subscribe to small group policies are subscribers of BCBS-GA.

        63.    As the dominant insurer in Georgia, BCBS-GA has led the way in causing supra-

competitive prices.

       64.     Defendant BCBS-HI is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Hawai'i. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-HI is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Hawai'i.

       65.     The principal headquarters for BCBS-HI is located at 818 Keeaumoku Street,

Honolulu, HI 96814. BCBS-HI does business in each county in Hawai'i.

       66.     BCBS-HI currently exercises market power in the commercial health insurance

market throughout Hawai'i. As of 2010, at least 69 percent of the Hawai'i residents who

subscribe to full-service commercial health insurance (whether through group plans or through

individual policies) are subscribers of BCBS-HI - vastly more than are subscribers of the next

largest commercial insurer operating in Hawai'i, Kaiser Permanente, which carries only 20

percent of such subscribers. A 2012 study by the American Medical Association found that

BCBS-HI had the second-least competitive commercial health-insurance market in the country.

       67.     As the dominant insurer in Hawai'i, BCBS-HI has led the way in causing supra-

competitive prices. In 2008, for example, BCBS-HI raised its premiums for its Preferred

Provider and HPH Plus plans 9.9% and 11.5%, respectively; from 2003 to 2011 individual and

family insurance premiums in Hawai'i increased, on average, 61 % and 74%, respectively, while

median household income in Hawai'i has failed to keep pace with those increases, rising only

16% for individuals and falling 1% for families during the same period. As a result of these and



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other inflated premiums, BCBS-HI has increased its profits to the point where it holds reserves in

the amount of approximately $400 million.

       68.     Defendant BC-ID is the health insurance plan operating under the Blue Cross

trademark and trade name in Idaho. Like other Blue Cross and Blue Shield plans nationwide,

BC-ID is the largest health insurer, as measured by number of subscribers, within its service

area, which is defined as the state of Idaho.

       69.     The principal headquarters for BC-ID is located at 3000 East Pine Avenue,

Meridian, ID 83642. BC-ID does business in each county in Idaho.

       70.     BC-ID, together with BS-ID, currently exercises market power in the commercial

health insurance market throughout Idaho. As of 2010, at least 47 percent of the Idaho residents

who subscribe to full-service commercial health insurance, including (as of 2011 ), 44 percent of

those who subscribe to individual products and at least 48 percent of those who subscribe to

small group products, are subscribers of BC-ID.

       71.     Defendant BS-ID is the health insurance plan operating under the Blue Shield

trademark and trade name in Idaho. Like other Blue Cross and Blue Shield plans nationwide,

BS-ID is one of the largest health insurers, as measured by number of subscribers, within its

service area, which is defined as the state of Idaho.

       72.     The principal headquarters for BS-ID is located at 1602 21st Ave., Lewiston, ID

83501. BS-ID does business in each county in Idaho.

       73.     As the dominant insurers in Idaho, BC-ID and BS-ID have led the way in causing

supra-competitive prices. As a result of these inflated premiums, as of 2010, BC-ID had more

than $415.5 million in capital and surplus.




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        74.        Defendant BCBS-IA is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Iowa. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-IA is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Iowa.

        75.     The principal headquarters for BCBS-IA is located at 1331 Grand Avenue, Des

Moines, IA 50306. BCBS-IA does business in each county in Iowa.

        76.     BCBS-IA currently exercises market power in the commercial health insurance

market throughout Iowa. As of 2011, at least 83 percent of the Iowa residents who subscribe to

full-service individual commercial health insurance and at least 61 percent of the Iowa residents

who subscribe to small group policies are subscribers ofBCBS-IA.

        77.     As the dominant insurer in Iowa, BCBS-IA has led the way in causing supra-

competitive prices. Each year from 2002 to 2012, Iowans' premiums have increased an average

rate of 10 percent annually, leaving BCBS-IA's parent company, Wellmark, with a surplus of

over $1 billion.

        78.     Defendant BCBS-IL is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Illinois. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-IL is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Illinois.

        79.     The principal headquarters for BCBS-IL is located at 300 E. Randolph Street,

Chicago, IL 60601. BCBS-IL does business in each county in Illinois.

        80.     BCBS-IL currently exercises market power in the commercial health insurance

market throughout Illinois. As of 2010, at least 55 percent of the Illinois residents who subscribe

to full-service commercial health insurance for small groups and at least 65 percent of the Illinois



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residents who subscribe to full-service commercial health insurance for individuals are

subscribers of BCBS-IL -vastly more than are subscribers of the next largest commercial insurer

operating in Illinois, United Healthcare, which carries only 12 percent of Illinois residents who

subscribe to full-service commercial health insurance.

        81.    As the dominant insurer in Illinois, BCBS-IL has led the way in causing supra-

competitive prices. BCBS-IL raised premiums 10.2 percent in 2007, 18 percent in 2008, and 8.4

percent in 2009, for some customers. As a result of these and other inflated premiums, HCSC,

which owns BCBS-IL, grew its surplus from $6.1 billion in 2007 to $6.7 billion in 2009, up from

$4.3 billion just four years earlier in 2005. The company's surplus is five times the minimum

required for solvency protection.

       82.     Defendant BCBS-IN is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Indiana. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-IN is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Indiana.

       83.     The principal headquarters for BCBS-IN is located at 120 Monument Circle,

Indianapolis, IN 46204. BCBS-IN does business in each county in Indiana.

       84.     BCBS-IN currently exercises market power in the commercial health insurance

market throughout Indiana. As of 2010, at least 56 percent of the Indiana residents who subscribe

to full-service commercial health insurance (whether through group plans or through individual

policies) are subscribers of BCBS-IN - vastly more than are subscribers of the next largest

commercial insurer operating in Indiana, United Healthcare, which carries only 15 percent of

such subscribers. Its parent company, Anthem, formerly doing business as WellPoint, is the




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largest publicly traded commercial health benefits company in terms of membership in the

United States.

        85.      As the dominant insurer in Indiana, BCBS-IN has led the way in causing supra-

competitive prices. As a result of these and other inflated premiums, BCBS-IN's parent

company, Anthem, has a surplus in excess of $300 million.

       86.       Defendant BCBS-KS is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Kansas. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-KS is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Kansas.

       87.       The principal headquarters for BCBS-KS is located at 1133 SW Topeka

Boulevard, Topeka, KS 66629. BCBS-KS does business in each county in Kansas.

       88.       BCBS-KS currently exercises market power in the commercial health insurance

market throughout Kansas. As of 2011, at least 4 7 percent of the Kansas residents who subscribe

to full-service individual commercial health insurance and at least 58 percent of the Kansas

residents who subscribe to small group policies are subscribers of BCBS-KS.

       89.       As the dominant insurer in Kansas, BCBS-KS has led the way in causing supra-

competitive prices.

       90.       Defendant BCBS-KY is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Kentucky. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-KY is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Kentucky.

       91.       The principal headquarters for BCBS-KY is located at 13550 Triton Park Blvd.,

Louisville, KY 40223. BCBS-KY does business in each county in Kentucky.



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        92.    BCBS-KY currently exercises market power in the commercial health insurance

market throughout Kentucky. BCBS-KY commands at least 85 percent of the market for

individual health insurance plans, with nearly 127,000 customers. The next largest carrier in

Kentucky, Humana, has less than 12 percent of the market, demonstrating the complete lack of

meaningful competition within this market. A 2007 study published by the American Medical

Association shows BCBS-KY's statewide market share for PPO plans was 66 percent. However,

in Owensboro it was at least 73 percent and in Bowling Green the market share was at least 79

percent. A 2012 report published by the University of Kentucky indicates that BCBS-KY has at

least 53 percent market share in HMO enrollment in Kentucky. These figures represent a steep

increase from earlier years. For example, data submitted to the U.S. Securities and Exchange

Commission shows BCBS-KY's overall market share in Kentucky in 1993 was just 38 percent.

       93.     As the dominant insurer in Kentucky, BCBS-KY (another Anthem Blue) has led

the way in causing supra-competitive prices. As a result of its inflated premiums, BCBS-KY

collects $326 million in premiums annually. The state's next largest insurer, Humana, collects

just $27 million, or less than 10 percent as much as BCBS-KY.

       94.     Defendant BCBS-LA is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Louisiana. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-LA is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Louisiana.

       95.     The principal headquarters for BCBS-LA is located at 5525 Reitz Avenue, Baton

Rouge, LA 70809. BCBS-LA does business in each parish in Louisiana.

       96.     BCBS-LA currently exercises market power in the commercial health insurance

market throughout Louisiana. As of 2010, at least 73 percent of the Louisiana residents who



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subscribe to full-service commercial health insurance in the individual market and at least 80

percent of the Louisiana residents who subscribe to full-service commercial health insurance in

the small group market are subscribers of BCBS-LA - vastly more than are subscribers of the

next largest commercial insurer operating in Louisiana, United Healthcare.

       97.     As the dominant insurer in Louisiana, BCBS-LA has led the way in causing

supra-competitive prices. In fact, from 2000 to 2007, Louisiana health insurance premiums

increased by 75.3 percent, 3.3 times faster than Louisiana wages, which only increased by 22.9

percent. Additionally, a 2009 forecast predicted that an average Louisiana worker would spend

nearly 60 percent of her or his income on health insurance by 2016, one of the highest predicted

nationwide ratios. As a result of its inflated premiums, BCBS-LA has amassed a massive

surplus; between 2004 and 2008, its surplus rose from $352.7 million to $621.1 million. As of

the end of2010, BCBS-LA's surplus exceeded $706.6 million.

       98.     Defendant BCBS-ME is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in Maine. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-ME is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Maine.

       99.     The principal headquarters for BCBS-ME is located at 2 Gannett Drive, South

Portland, ME 04016. BCBS-ME does business in each county in Maine.

       100.    BCBS-ME currently exercises market power in the commercial health insurance

market throughout Maine. As of 2011, at least 45 percent of the Maine residents who subscribe

to full-service individual commercial health insurance and at least 50 percent of the Maine

residents who subscribe to small group policies are subscribers ofBCBS-ME.




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        101.   As the dominant insurer in Maine, BCBS-ME has led the way in causing supra-

competitive prices.

       102.    Defendant BCBS-MD, operated by Carefirst, Inc., is the health insurance plan

operating under the Blue Cross and Blue Shield trademarks and trade names in Maryland. Like

other Blue Cross and Blue Shield plans nationwide, BCBS-MD is the largest health insurer, as

measured by number of subscribers, within its service area, which is defined as the state of

Maryland.

       103.    The principal headquarters for BCBS-MD is located at 10455 and 10453 Mill Run

Circle, Owings Mill, MD 21117. BCBS-MD does business in each county in Maryland.

       104.    BCBS-MD currently exercises market power in the commercial health insurance

market throughout Maryland. As of 2011, at least 70 percent of the Maryland residents who

subscribe to full-service individual commercial health insurance and at least 72 percent of the

Maryland residents who subscribe to small group policies are subscribers ofBCBS-MD.

       105.    As the dominant insurer in Maryland, BCBS-MD has led the way in causing

supra-competitive prices. As a result, BCBS-MD's parent company, CareFirst, Inc., accumulated

nearly $1 billion in surplus by the end of 2011.

       106.    Defendant BCBS-MA is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in Massachusetts. Like other Blue Cross and

Blue Shield plans nationwide, BCBS-MA is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Massachusetts.

       107.    The principal headquarters for BCBS-MA is located at 401 Park Drive, Boston,

MA 02215. BCBS-MA does business in each county in Massachusetts.




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        108.   BCBS-MA currently exercises market power in the commercial health insurance

market throughout Massachusetts. As of 2011, at least 63 percent of the Massachusetts residents

who subscribe to full-service individual commercial health insurance and at least 40 percent of

the Massachusetts residents who subscribe to small group policies are subscribers of BCBS-MA.

       109.    As the dominant insurer in Massachusetts, BCBS-MA has led the way in causing

supra-competitive prices. As a result, by mid-2010, BCBS-MA had amassed a surplus of $1.4

billion. In 2011, BCBS-MA paid one of its departing executives a severance of over $11 million.

       110.    Defendant BCBS-MI is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Michigan. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-MI is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Michigan.

       111.    The principal headquarters for BCBS-MI is located at 600 E. Lafayette Blvd.,

Detroit, MI 48226. BCBS-MI does business in each county in Michigan.

       112.    BCBS-MI currently exercises market power in the commercial health insurance

market throughout Michigan. As of 2010, at least 69 percent of the Michigan residents who

subscribe to full-service commercial health insurance (whether through group plans or through

individual policies) are subscribers of BCBS-MI - vastly more than are subscribers of the next

largest commercial insurer operating in Michigan, Priority Health, which carries only 9 percent

of such subscribers. The American Medical Association ranks Michigan as the third least

competitive state for commercial coverage, as of2010.

       113.    As the dominant insurer in Michigan, BCBS-MI has led the way in causing supra-

competitive prices. Premiums in the small group market grew by 9% and 13% in 2010 and 2011.

BCBS-MI raised rates on individuals 22% in 2009 alone. As a result of these and other inflated



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premiums, BCBS-MI earned profits of $222 million and $40 million in 2010 and 2011,

respectively, and currently maintains a reserve of approximately $3 billion. This "non-profit"

pays its CEO compensation of $3.8 million annually. Additionally, facing increasing political

pressure to reform its practices, BCBS-MI has used its "profits" to increase its political

influence. In the 1990 election cycle, BCBS-MI spent about $155,000 through its political action

committee on campaign contributions. That number now has soared to $1.2 million in the 2011-

2012 campaign cycle.

       114.    Defendant BCBS-MN is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in Minnesota. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-MN is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Minnesota.

       115.    The principal headquarters for BCBS-MN is located at 3535 Blue Cross Road, St.

Paul, MN 55164. BCBS-MN does business in each county in Minnesota.

       116.    BCBS-MN currently exercises market power in the commercial health insurance

market throughout Minnesota. As of 2011, at least 63 percent of the Minnesota residents who

subscribe to full-service individual commercial health insurance and at least 37 percent of the

Minnesota residents who subscribe to small group policies are subscribers ofBCBS-MN.

       117.    As the dominant insurer in Minnesota, BCBS-MN has led the way in causing

supra-competitive prices. As a result, by 2011, BCBS-MN had accumulated more than $250

million in surplus. In 2010, BCBS-MN paid its then-current CEO, Peter Geraghty, $1.5 million

in compensation, the highest salary for any Minnesota non-profit leader.

       118.    Defendant BCBS-MS is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Mississippi. Like other Blue Cross and Blue



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Shield plans nationwide, BCBS-MS is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Mississippi.

       119.    The principal headquarters for BCBS-MS is located at 3545 Lakeland Drive,

Flowood, MS 39232. BCBS-MS does business in each county in Mississippi.

       120.    BCBS-MS currently exercises market power in the commercial health insurance

market throughout Mississippi. As of 2011, at least 57 percent of the Mississippi residents who

subscribe to full-service commercial health insurance through individual policies and at least 73

percent of the Mississippi residents who subscribe to full-service commercial health insurance

through small group plans are subscribers of BCBS-MS -vastly more than are subscribers of the

next largest commercial insurer operating in Mississippi, United Healthcare.

       121.    As the dominant insurer in Mississippi, BCBS-MS has led the way in causing

supra-competitive prices. As a result of these and other inflated premiums, BCBS-MS now has a

surplus of approximately $561 million.

       122.    Defendant BCBS-MO is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in Missouri, except for 32 counties in greater

Kansas City and NW Missouri. Like other Blue Cross and Blue Shield plans nationwide, BCBS-

MO is the largest health insurer, as measured by number of subscribers, within its service area,

which is defined as the state of Missouri, except the 32 counties in greater Kansas City and NW

Missouri.

       123.    The principal headquarters for BCBS-MO is located at 1831 Chestnut Street, St.

Louis, MO 63103. BCBS-MO does business in all but 32 counties in the state of Missouri.

       124.    Defendant BCBS-KC is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in the 32 counties of greater Kansas City and NW



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Missouri, plus Johnson and Wyandotte counties in Kansas. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-Kansas City is one of the largest health insurers, as measured by

number of subscribers, within its service area, which is defined as the 32 counties of greater

Kansas City and NW Missouri, plus Johnson and Wyandotte counties in Kansas.

       125.       The principal headquarters for BCBS-Kansas City is located at 2301 Main Street,

One Pershing Square, Kansas City, MO 64108. BCBS-Kansas City does business in each county

in the 32 counties of greater Kansas City and NW Missouri, plus Johnson and Wyandotte

counties in Kansas.

       126.       BCBS-MO, with BCBS-KC, currently exercises market power in the commercial

health insurance market throughout Missouri (with the exception of certain counties which are

not part of its service area). As of 2010, at least 26 percent of the Missouri residents who

subscribe to full-service commercial health insurance (whether through group plans or through

individual policies) are subscribers of BCBS-MO, including at least 32 percent of those with

individual insurance products and at least 48 percent of those with small group insurance

products. In parts of its service area in Missouri, BCBS-KC has as much as 62 percent market

share, or more.

       127.       As the dominant insurers in Missouri, BCBS-MO and BCBS-KC have led the

way in causing supra-competitive prices. In fact, health insurance premiums for Missouri

working families increased 76 percent from 2000 to 2007. For family health coverage in

Missouri from 2000 to 2007, the average employer's portion of annual premiums rose 72

percent, while the average worker's share grew by 91 percent.

       128.       Defendant BCBS-MT is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in Montana. Like other Blue Cross and Blue



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Shield plans nationwide, BCBS-MT is one of the largest health insurers, as measured by number

of subscribers, within its service area, which is defined as the state of Montana. Defendant

Health Care Service Corporation acquired Blue Cross and Blue Shield of Montana in 2012.

Following the asset sale, the original Montana entity, which is now known as Caring for

Montanans, Inc., no longer operated as a health insurer. However, Health Care Service

Corporation assumed liability for claims involving Blue Cross and Blue Shield of Montana in

MDL 2406. This complaint is asserted against Health Care Service Corporation for, among other

things, liabilities attributable to Blue Cross and Blue Shield of Montana.

        129.   The principal headquarters for BCBS-MT is located at 560 N. Park Avenue,

Helena, MT 59604-4309. BCBS-MT does business in each county in Montana.

       130.    BCBS-MT currently exercises market power in the commercial health insurance

market throughout Montana. As of 2011, at least 56 percent of the Montana residents who

subscribe to full-service individual commercial health insurance and at least 72 percent of the

Montana residents who subscribe to small group policies are subscribers of BCBS-MT.

       131.    As the dominant insurer in Montana, BCBS-MT has led the way in causing supra-

competitive prices. In 2010, for example, BCBS-MT raised some insurance premiums by as

much as 40 percent.

       132.    Defendant BCBS-NE is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Nebraska. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-NE is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Nebraska.

       133.    The principal headquarters for BCBS-NE is located at 1919 Aksarban Drive,

Omaha, NE 68180. BCBS-NE does business in each county in Nebraska.



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        134.   BCBS-NE currently exercises market power in the commercial health insurance

market throughout Nebraska. As of 2011, at least 65 percent of the Nebraska residents who

subscribe to full-service individual commercial health insurance and at least 42 percent of the

Nebraska residents who subscribe to small group policies are subscribers ofBCBS-NE.

        135.   As the dominant insurer in Nebraska, BCBS-NE has led the way in causing supra-

competitive prices. In 2012, BCBS-NE raised premiums an average of 10 percent, some by as

much as 17 percent.

       136.    Defendant BCBS-NV is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Nevada. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-NV is one of the largest health insurers, as measured by number of

subscribers, within its service area, which is defined as the state of Nevada.

       137.    The principal headquarters for BCBS-NV is located at 9133 West Russell Rd.

Suite 200, Las Vegas, NV 89148. BCBS-NV does business in each county in Nevada.

       138.    BCBS-NV currently exercises market power in the commercial health insurance

market throughout Nevada. As of 2010, BCBS-NV had as much as 31 percent market share of

full-service commercial health insurance in regions of its service area.

       139.    As one of the dominant insurers in Nevada, BCBS-NV has led the way in causing

supra-competitive prices.

       140.    Defendant BCBS-NH is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in New Hampshire. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-NH is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of New Hampshire.




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        141.   The principal headquarters for BCBS-NH is located at 3000 Goffs Falls Rd,

Manchester, NH 03103. BCBS-NH does business in each county in New Hampshire.

       142.    BCBS-NH currently exercises market power in the commercial health insurance

market throughout New Hampshire. As of 2010 and 2011, at least 51 percent of the New

Hampshire residents who subscribe to full-service commercial health insurance-including at

least 76 percent of those who subscribe to individual plans and at least 67 percent of those who

subscribe to small group plans-are subscribers of BCBS-NH - vastly more than are subscribers

of the next largest commercial insurer operating in New Hampshire, Harvard Pilgrim, which

carries only 20 percent of such subscribers.

       143.    As the dominant insurer in New Hampshire, BCBS-NH has led the way in

causing supra-competitive prices. For example, from 2009 to 2010 the cost of insurance

coverage for small groups and individuals rose 15% and 39%, respectively. As a result of these

and other inflated premiums, between 2006 and 2011, BCBS-NH reported annual income

between $26 million and $112 million and a cumulative profit of approximately $360 million.

       144.    Defendant BCBS-NJ is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in New Jersey. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-NJ is one of the largest health insurers, as measured by number

of subscribers, within its service area, which is defined as the state of New Jersey.

       145.    The principal headquarters for BCBS-NJ is located at Three Penn Plaza East,

Newark, NJ 07105. BCBS-NJ does business in each county in New Jersey.

       146.    BCBS-NJ currently exercises market power in the commercial health insurance

market throughout New Jersey. As of 2011, at least 63 percent of the New Jersey residents who




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subscribe to full-service individual commercial health insurance and at least 59 percent of the

New Jersey residents who subscribe to small group policies are subscribers ofBCBS-NJ.

       147.    As the dominant insurer in New Jersey, BCBS-NJ has led the way in causing

supra-competitive prices. In 2010, CEO and President William Marino received $8.7 million in

compensation, three other executives made more than $2 million in total compensation, and six

others made more than $1 million.

       148.    Defendant BCBS-NM is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in New Mexico. Like other Blue Cross and

Blue Shield plans nationwide, BCBS-NM is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of New Mexico.

       149.    The principal headquarters for BCBS-NM is located at 5701 Balloon Fiesta

Parkway Northeast, Albuquerque, NM 87113. BCBS-NM does business in each county in New

Mexico.

       150.    BCBS-NM currently exercises market power in the commercial health insurance

market throughout New Mexico. As of 2011, at least 52 percent of the New Mexico residents

who subscribe to full-service individual commercial health insurance and at least 31 percent of

the New Mexico residents who subscribe to small group policies are subscribers ofBCBS-NM.

       151.    As the dominant insurer in New Mexico, BCBS-NM has led the way in causing

supra-competitive prices. As a result, BCBS-NM's parent company, Health Care Service Corp.,

was able to amass an estimated $6.1 billion in surplus by 2007. For at least three years following,

some BCBS-NM subscribers faced annual rate hikes of up to 20 percent.

       152.    Defendant Empire BCBS is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in Eastern and Southeastern New York. Like



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other Blue Cross and Blue Shield plans nationwide, Empire BCBS is the largest health insurer,

as measured by number of subscribers, within its service area, which is defined as the 28

counties of Eastern and Southeastern New York state.

       153.   The principal headquarters for Empire BCBS is located at One Liberty Plaza,

New York, NY 10006. Empire BCBS does business in each county in New York.

       154.   Defendant BCBS-Western New York is the health insurance plan operating

under the Blue Cross and Blue Shield trademarks and trade names in Western New York. Like

other Blue Cross and Blue Shield plans nationwide, BCBS-Western New York is one of the

largest health insurers, as measured by number of subscribers, within its service area, which is

defined as Western New York state.

       155.   The principal headquarters for BCBS-Western New York is located at 257 West

Genesee Street, Buffalo, NY 14202. BCBS-Western New York does business in a number of

counties in Western New York.

       156.   Defendant BS-Northeastern New York is the health insurance plan operating

under the Blue Shield trademark and trade name in Northeastern New York. Like other Blue

Cross and Blue Shield plans nationwide, BS-Northeastern New York is one of the largest health

insurers, as measured by number of subscribers, within its service area, which is defined as 13

counties in Northeastern New York.

       157.   The principal headquarters for BS-Northeastern New York is located at 257 West

Genesee Street, Buffalo, NY 14202. BS-Northeastern New York does business in 13 counties in

Northeastern New York.

       158.   Defendant Excellus BCBS is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in central New York. Like other Blue Cross



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and Blue Shield plans nationwide, Excellus BCBS is one of the largest health insurers, as

measured by number of subscribers, within its service area, which is defined as 31 counties in

central New York.

        159.   The principal headquarters for Excellus BCBS is located at 165 Court Street,

Rochester, NY 14647. Excellus BCBS does business in each county in the 31 counties of central

New York.

        160.   Empire BCBS, BCBS-Western New York, BS-Northeastern New York, and

Excellus BCBS currently exercise market power in the commercial health insurance market

throughout their respective service areas of New York. As of 2010, at least 67 percent of the

New York residents who subscribe to full-service commercial health insurance are subscribers of

these New York Individual Blue Plans.

       161.    As the dominant insurers in New Mexico, Empire BCBS, BCBS-Western New

York, BS-Northeastern New York, and Excellus BCBS have led the way in causing supra-

competitive prices.

       162.    Defendant BCBS-NC is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in North Carolina. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-NC is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of North Carolina.

       163.    The principal headquarters for BCBS-NC is located at 5901 Chapel Hill Road,

Durham, NC 27707. BCBS-NC does business in each county in North Carolina.

       164.    BCBS-NC currently exercises market power in the commercial health insurance

market throughout North Carolina. According to the North Carolina Department of Insurance

("NCDOI"), over 73 percent of the North Carolina residents who subscribe to full-service



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commercial health insurance (whether through group plans or through individual policies) are

subscribers of BCBS-NC - vastly more than the next largest full-service commercial insurer,

Coventry Health Care, which carries only 7 percent of all subscribers. BCBS-NC currently has a

greater than 50 percent share of full-service commercial health insurance enrollees in all fifteen

of the major metropolitan health insurance markets in the State, and a greater than 75 percent

share in ten of those fifteen markets. As of 2011, BCBS-NC had at least an 83 percent share of

the individual market and at least a 63 percent share of the small group market.

        165.   As the dominant insurer in North Carolina, BCBS-NC has led the way in causing

supra-competitive prices. As a result of these inflated premiums, BCBS-NC now has a surplus of

over $1.4 billion and has paid its executives salaries and bonuses in the millions of dollars each

year.

        166.   Defendant BCBS-ND is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in North Dakota. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-ND is the largest health        i~surer,   as measured by number of

subscribers, within its service area, which is defined as the state of North Dakota.

        167.   The principal headquarters for BCBS-ND is located at 4510 13th Avenue South,

Fargo, ND 58121. BCBS-ND does business in each county in North Dakota.

        168.   BCBS-ND currently exercises market power in the commercial health insurance

market throughout North Dakota. As of 2011, at least 75 percent of the North Dakota residents

who subscribe to full-service individual commercial health insurance and at least 85 percent of

the North Dakota residents who subscribe to small group policies are subscribers ofBCBS-ND.

        169.   As the dominant insurer in North Dakota, BCBS-ND has led the way in causing

supra-competitive prices. In 2011, BCBS-ND raised premiums for some subscribers by as much



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as 17 percent; in 2009, an audit revealed that the insurer had spent nearly $35,000 for a farewell

party for an unnamed executive the year before.

       170.    Defendant BCBS-OH is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in Ohio. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-OH is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Ohio.

       171.    The principal headquarters for BCBS-OH is located at 120 Monument Circle,

Indianapolis, IN 46203. BCBS-OH does business in each county in Ohio.

       172.    BCBS-OH currently exercises market power in the commercial health insurance

market throughout Ohio. As of 2011, at least 36 percent of the Ohio residents who subscribe to

full-service individual commercial health insurance and at least 41 percent of the Ohio residents

who subscribe to small group policies are subscribers of BCBS-OH.

       173.    As the dominant insurer in Ohio, BCBS-OH has led the way in causing supra-

competitive prices. In 2013, the insurer raised rates for small group subscribers by an average of

12 percent.

       174.    Defendant BCBS-OK is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in Oklahoma. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-OK is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Oklahoma.

       175.    The principal headquarters for BCBS-OK is located at 1400 South Boston, Tulsa,

OK 74119. BCBS-OK does business in each county in Oklahoma.

       176.    BCBS-OK currently exercises market power in the commercial health insurance

market throughout Oklahoma. As of 2010, at least 45 percent of the Oklahoma residents who



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subscribe to full-service commercial health insurance (whether through group plans or through

individual policies) are subscribers of BCBS-OK - vastly more than are subscribers of the next

largest commercial insurer operating in Oklahoma, Aetna, which carries only 19 percent of such

subscribers. As of 2011, BCBS-OK maintained at least 58 percent market share in the individual

market, and at least 48 percent market share in the small group market. The 2012 Oklahoma

Insurance Department Annual Report placed BCBS-OK's individual plan market share at 70

percent and group plan market share at 56 percent.

       177.    As the dominant insurer in Oklahoma, BCBS-OK has led the way in causing

supra-competitive prices. From 2005 (when Health Care Service Corp. purchased BCBS-OK) to

2011, BCBS-OK nearly doubled its premium revenue, from $956 million to $1.8 billion. Health

Care Service Corp. now has a surplus of over $620 million.

       178.    Defendant BCBS-OR is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Oregon. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-OR is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Oregon.

       179.    The principal headquarters for BCBS-OR is located at 100 SW Market Street,

Portland, OR 97207. BCBS-OR does business in each county in Oregon.

       180.    BCBS-OR currently exercises market power in the commercial health insurance

market throughout Oregon. As of2011, at least 35 percent of the Oregon residents who subscribe

to full-service individual commercial health insurance and at least 21 percent of the Oregon

residents who subscribe to small group policies are subscribers ofBCBS-OR.

       181.    As the dominant insurer in Oregon, BCBS-OR has led the way in causing supra-

competitive prices. From 2009 to 2010, while building a surplus of $565 million (3.6 times the



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regulatory minimum), BCBS-OR raised rates on some individual plans by an average of 25

percent.

       182.     Defendant Highmark BCBS is the health insurance plan operating under the

Blue Cross and Blue Shield trademarks and trade names in Western Pennsylvania and the Blue

Shield trademarks and trade names throughout the entire state of Pennsylvania. Like other Blue

Cross and Blue Shield plans nationwide, Highmark BCBS is the largest health insurer, as

measured by number of subscribers, within its Blue Cross and Blue Shield service area, which is

defined as the 29 counties of Western Pennsylvania: Allegheny, Armstrong, Beaver, Bedford,

Blair, Butler, Cambria, Cameron, Centre (Western portion), Clarion, Clearfield, Crawford, Elk,

Erie, Fayette, Forest, Greene, Huntingdon, Indiana, Jefferson, Lawrence, McKean, Mercer,

Potter, Somerset, Venango, Warren, Washington, and Westmoreland Counties. (As described

below, Highmark BCBS has entered into illegal and anticompetitive agreements with at least two

of the other Individual Blue Plans in Pennsylvania, which prevent Highmark BCBS from

competing under its Blue Shield trademark in Northeastern and Southeastern Pennsylvania.)

       183.     The principal headquarters for Highmark BCBS is located at 120 Fifth Avenue

Place, Pittsburgh, PA 15222. Highmark BCBS does business in each county in Western

Pennsylvania.

       184.     Defendant BC-Northeastern PA is the health insurance plan operating under the

Blue Cross trademark and trade name in Northeastern Pennsylvania. Like other Blue Cross and

Blue Shield plans nationwide, BC-Northeastern PA is one of the largest health insurers, as

measured by number of subscribers, within its service area, which is defined as the 13 counties

that make up Northeastern Pennsylvania: Bradford, Carbon, Clinton, Lackawanna, Luzerne,

Lycoming, Monroe, Pike, Sullivan, Susquehanna, Tioga, Wayne, and Wyoming Counties.



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       185.     The principal headquarters for BC-Northeastern PA is located at 19 North Main

Street, Wilkes-Barre, PA. 18711. BC-Northeastern PA does business in each county in

Northeastern Pennsylvania.

       186.     Defendant Capital BC is the health insurance plan operating under the Blue

Cross trademark and trade name in central Pennsylvania. Like other Blue Cross and Blue Shield

plans nationwide, Capital BC is one of the largest health insurers, as measured by number of

subscribers, within its service area, which is defined as the 21 counties that make up central

Pennsylvania: Adams, Berks, Centre (Eastern portion), Columbia, Cumberland, Dauphin,

Franklin, Fulton, Juniata, Lancaster, Lebanon, Lehigh, Mifflin, Montour, Northampton,

Northumberland, Perry, Schuylkill, Snyder, Union, and York Counties.

       187.     The principal headquarters for Capital BC is located at 2500 Elmerton Avenue,

Harrisburg, PA 17177. Capital BC does business in 21 counties in central Pennsylvania.

       188.     Defendant Independence BC is the health insurance plan operating under the

Blue Cross trademark and trade name in Southeastern Pennsylvania. Like other Blue Cross and

Blue Shield plans nationwide, Independence BC is the largest health insurer, as measured by

number of subscribers, within its service area, which is defined as the 5 counties that make up

Southeastern Pennsylvania: Bucks, Chester, Delaware, Montgomery, and Philadelphia Counties.

       189.     The principal headquarters for Independence BC is located at 1901 Market Street,

Philadelphia, PA 19103. Independence BC does business in each county in Southeastern

Pennsylvania.

       190.     Highmark BCBS, BC-Northeastern PA, Capital BC, and Independence BC

currently exercise market power in the commercial health insurance market in their respective

services areas of Pennsylvania, including Highmark BCBS throughout Western Pennsylvania.



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Since 2000, between 60% and 80% of the Western Pennsylvania residents who subscribe to full-

service commercial health insurance (whether through group plans or through individual

policies) are subscribers of Highrnark. Highrnark Executive Vice President John Paul has stated

publicly that Highrnark is "an insurer that clearly dominates the commercial market" and "it's

pretty obvious [Highrnark] control[s] finance of health care in western Pennsylvania." As of

2006, at least 60 percent of the Northeastern Pennsylvania residents who subscribe to full-service

commercial health insurance (whether through group plans or through individual policies) are

subscribers of BC-Northeastern PA, and at least 62 percent of the Southeastern Pennsylvania

residents who subscribe to full-service commercial health insurance (whether through group

plans or through individual policies) are subscribers of Independence BC.

       191.    As the dominant insurers in Pennsylvania, Highrnark BCBS, BC-Northeastern

PA, Capital BC, and Independence BC have led the way in causing supra-competitive prices.

From 2002-2006, health insurance premiums for single individuals in the Pittsburgh area rose

approximately 55% and health insurance premiums for Pittsburgh families rose approximately

51 %. In 2008, Highrnark raised its rates for its CompleteCare program by 15%. In 2012,

Highrnark filed for premium rate increases of 9.8% for its small group plans. As a result of these

and other inflated premiums, net income increased from less than $50 million in 2001 to

approximately $444.7 million in 2011. By the end of 2005, Highrnark's surplus (i.e., assets in

excess of legally required reserves to pay claims) exceeded $2.8 billion; by 2011, it exceeded

$4.l billion. In 2012, Highrnark paid its CEOs more than $6 million and paid its Board of

Directors $1.9 million.

       192.    Defendant BCBS-Puerto Rico is the health insurance plan operating under the

Blue Cross and Blue Shield trademarks and trade names in Puerto Rico. Like other Blue Cross



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and Blue Shield plans nationwide, BCBC-Puerto Rico is one of the largest health insurers, as

measured by number of subscribers, within its service area, which is defined as the territory of

Puerto Rico.

        193.   The principal headquarters for BCBS-Puerto Rico is located at 1441 F.D.

Roosevelt Avenue, San Juan, Puerto Rico 00920. BCBS-Puerto Rico does business throughout

Puerto Rico.

        194.   BCBS-Puerto Rico currently exercises market power in the commercial health

insurance market throughout Puerto Rico. As a dominant insurer in Puerto Rico, BCBS-Puerto

Rico has led the way in causing supra-competitive prices.

       195.    Defendant BCBS-RI is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Rhode Island. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-RI is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Rhode Island.

       196.    The principal headquarters for BCBS-RI is located at 500 Exchange Street,

Providence, RI 02903. BCBS-RI does business in each county in Rhode Island.

       197.    BCBS-RI currently exercises market power in the commercial health insurance

market throughout Rhode Island. As of 2012, at least 71 percent of the Rhode Island residents

who subscribe to full-service commercial health insurance (whether through group plans or

through individual policies) are subscribers of BCBS-RI -vastly more than are subscribers of the

next largest commercial insurer operating in Rhode Island, United Healthcare, which carries only

15 percent of such subscribers. As of 2011, BCBS-RI maintained a stunning 95 percent market

share in the individual market, and at least 74 percent market share in the small group market.




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        198.    As the dominant insurer in Rhode Island, BCBS-RI has led the way in causing

supra-competitive prices. From 2003 to 2011, individual and family insurance premiums rose 59

percent and 61 percent, respectively. From 2000 to 2009, the average employer-sponsored health

insurance premiums for families in Rhode Island increased by approximately 105.8 percent,

whereas median earnings rose only 22.4 percent during that same period. In 2011, BCBS-RI

raised premiums by about 10%. As a result of these and other inflated premiums, by 2011,

BCBS-RI had amassed an approximately $320 million surplus.

        199.    Defendant BCBS-SC is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in South Carolina. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-SC is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of South Carolina.

       200.     The principal headquarters for BCBS-SC is located at 2501 Faraway Drive,

Columbia, SC 29212. BCBS-SC does business in each county in South Carolina.

       201.     BCBS-SC currently exercises market power in the commercial health insurance

market throughout South Carolina. As of 2010, at least 60 percent of the South Carolina

residents who subscribe to full-service commercial health insurance (whether through group

plans or through individual policies) are subscribers of BCBS-SC - vastly more than are

subscribers of the next largest commercial insurer operating in South Carolina, Cigna, which

carries only 15 percent of such subscribers. As of 2011, BCBS-SC maintained 55 percent market

share in the individual market, and 70 percent market share in the small group market.

        202.    As the dominant insurer in South Carolina, BCBS-SC has led the way in causing

supra-competitive prices. As a result of these inflated premiums, BCBS-SC now has a surplus of

reserves over $1. 7 billion.



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        203.    Defendant BCBS-SD is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in South Dakota. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-SD is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of South Dakota.

        204.    The principal headquarters for BCBS-SD is located at 1601 W. Madison, Sioux

Falls, SD 57104. BCBS-SD does business in each county in South Dakota.

       205.     BCBS-SD currently exercises market power in the commercial health insurance

market throughout South Dakota. As of 2011, at least 74 percent of the South Dakota residents

who subscribe to full-service individual commercial health insurance and at least 62 percent of

the South Dakota residents who subscribe to small group policies are subscribers ofBCBS-SD.

       206.    As the dominant insurer in South Dakota, BCBS-SD has led the way in causing

supra-competitive prices. As a result, as of 2012, its parent company, Wellmark, held a surplus

of over $1 billion.

       207.    Defendant BCBS-TN is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Tennessee. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-TN is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Tennessee.

       208.    The principal headquarters for BCBS-TN is located at 1 Cameron Hill Circle,

Chattanooga, TN 37402. BCBS-TN does business in each county in Tennessee.

       209.    BCBS-TN currently exercises market power in the commercial health insurance

market throughout Tennessee. As of 2010, at least 46 percent of the Tennessee residents who

subscribe to full-service commercial health insurance (whether through group plans or through

individual policies) are subscribers of BCBS-TN - vastly more than are subscribers of the next



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largest commercial insurer operating in Tennessee, Cigna, which carries only 24 percent of such

subscribers. As of 2011, BCBS-TN maintained at least 36 percent market share in the individual

market and at least 70 percent market share in the small group market.

       210.    As the dominant insurer in Tennessee, BCBS-TN has led the way in causing

supra-competitive prices. As a result of these inflated premiums, BCBS-TN now has a surplus of

almost $1.6 billion.

       211.    Defendant BCBS-TX is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Texas. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-TX is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Texas.

       212.    The principal headquarters for BCBS-TX is located at 1001 E. Lookout Drive,

Richardson, TX 75082. BCBS-TX does business in each county in Texas.

       213.    BCBS-TX currently exercises market power in the commercial health insurance

market throughout Texas. As of 2010, at least 35 percent of the Texas residents who subscribe to

full-service commercial health insurance (whether through group plans or through individual

policies) are subscribers of BCBS-TX - vastly more than are subscribers of the next largest

commercial insurer operating in Texas, Aetna, which carries only 22 percent of such subscribers.

As of 2011, BCBS-TX maintained 57 percent market share in the individual market and 46

percent market share in the small group market.

       214.    As the dominant insurer in Texas, BCBS-TX has led the way in causing supra-

competitive prices. As a result of these inflated premiums, BCBS-TX's parent company, Health

Care Service Corp., now has a surplus of more than $620 million.




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       215.    Defendant BCBS-UT is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Utah. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-UT is one of the largest health insurers, as measured by number of

subscribers, within its service area, which is defined as the state of Utah.

       216.    The principal headquarters for BCBS-UT is located at 2890 East Cottonwood

Parkway, Salt Lake City, UT 84121. BCBS-UT does business in each county in Utah.

       217.    BCBS-UT currently exercises market power in the commercial health insurance

market throughout Utah. As of 2011, at least 17 percent of the Utah residents who subscribe to

full-service individual commercial health insurance and at least 23 percent of the Utah residents

who subscribe to small group policies are subscribers of BCBS-UT.

       218.    As one of the dominant insurers in Utah, BCBS-UT has led the way in causing

supra-competitive prices.

       219.    Defendant BCBS-VT is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Vermont. Like other Blue Cross and Blue Shield

plans nationwide, BCBS-VT is the largest health insurer, as measured by number of subscribers,

within its service area, which is defined as the state of Vermont.

       220.    The principal headquarters for BCBS-VT is located at 445 Industrial Lane, Berlin,

VT 05602. BCBS-VT does business in each county in Vermont.

       221.    BCBS-VT currently exercises market power in the commercial health insurance

market throughout Vermont. As of 2011, at least 77 percent of the Vermont residents who

subscribe to full-service individual commercial health insurance and at least 43 percent of the

Vermont residents who subscribe to small group policies are subscribers ofBCBS-VT.




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        222.    As the dominant insurer in Vermont, BCBS-VT has led the way in causing supra-

competitive prices. In 2010, Vermont's Banking, Insurance, Securities, and Health Care

Administration Department found that BCBS-VT had overpaid its former President and CEO

William Milnes Jr. by roughly $3 million, having paid him $7.2 million in 2008 upon his

retirement, in violation of state law.

       223.    Defendant BCBS-VA is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in most of Virginia, with the exception of a small

portion of Northern Virginia in the Washington, DC suburbs. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-VA is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of Virginia, excepting a small

portion of Northern Virginia in the Washington, DC suburbs.

       224.    The principal headquarters for BCBS-VA is located at 2235 Staples Mill Road,

Suite 401, Richmond, VA 23230. BCBS-VA does business in each county in Virginia.

       225.    BCBS-VA currently exercises market power in the commercial health insurance

market throughout Virginia. As of 2011, at least 74 percent of the Virginia residents who

subscribe to full-service individual commercial health insurance and at least 50 percent of the

Virginia residents who subscribe to small group policies are subscribers of BCBS-VA.

       226.    As the dominant insurer in Virginia, BCBS-VA has led the way in causing supra-

competitive prices. In 2009, BCBS-VA's parent company, Anthem, raised its CEO Angela

Braly's total compensation by 51 percent, to $13 million.

       227.    Defendant BC-WA is the health insurance plan operating under the Blue Cross

trademarks and trade names in Washington. Like other Blue Cross and Blue Shield plans




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nationwide, BC-WA is one of the largest health insurers, as measured by number of subscribers,

within its service area, which is defined as eastern Washington.

        228.    The principal headquarters for BC-WA is located at 7001 220th Street SW,

Mountlake Terrace, WA 98043-4000. BC-WA does business in each county in Washington.

        229.    Defendant BS-WA is the health insurance plan operating under the Blue Shield

trademarks and trade names in Washington. Like other Blue Cross and Blue Shield plans

nationwide, BS-WA is one of the largest health insurers, as measured by number of subscribers,

within its service area, which is defined as western Washington.

        23 0.   The principal headquarters for BS-WA is located at 1800 Ninth Avenue, Seattle,

WA 98111. BS-WA does business in each county in Washington.

        231.    BC-WA and BS-WA currently exercise market power in the commercial health

insurance market throughout Washington. As of 2011, at least 36 percent of the Washington

residents who subscribe to full-service individual commercial health insurance are subscribers of

BC-WA, while at least 37 percent of those residents are subscribers of BS-WA (for a total of73

percent). At least 32 percent of the Washington residents who subscribe to small group policies

are subscribers of BC-WA, while at least 33 percent of those residents are subscribers of BS-WA

(for a total of 65 percent).

        232.    As the dominant insurers in Washington, BC-WA and BS-WA have led the way

in causing supra-competitive prices. In 2012, BC-WA' s CEO threatened to increase premium

rates for individual plans by as much as 50 to 70 percent.

        233.    Defendant BCBS-DC, operated by CareFirst, Inc., is the health insurance plan

operating under the Blue Cross and Blue Shield trademarks and trade names in Washington, DC

and its suburbs. Like other Blue Cross and Blue Shield plans nationwide, BCBS-DC is the



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largest health insurer, as measured by number of subscribers, within its service area, which is

defined as Washington, DC and a small portion of Northern Virginia in the Washington, DC

suburbs.

       234.    The principal headquarters for BCBS-DC is located at 10455 Mill Run Circle,

Owings Mill, MD 21117. BCBS-DC does business throughout Washington, DC.

       235.    BCBS-DC currently exercises market power in the commercial health insurance

market throughout the Washington, DC region. As of 2011, at least 69 percent of the

Washington, DC region residents who subscribe to full-service individual commercial health

insurance and at least 76 percent of the Washington, DC region residents who subscribe to small

group policies are subscribers ofBCBS-DC.

       236.    As the dominant insurer in the Washington, DC region, BCBS-DC has led the

way in causing supra-competitive prices. In 2010, BCBS-DC raised rated by as much as 35

percent, so high that the insurance regulator for the District of Columbia rescinded the rate.

       237.    Defendant BCBS-WV is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in West Virginia. Like other Blue Cross and

Blue Shield plans nationwide, BCBS-WV is the largest health insurer, as measured by number of

subscribers, within its service area, which is defined as the state of West Virginia.

       238.    The principal headquarters for BCBS-WV is located at 700 Market Square,

Parkersburg, West Virginia 26101. BCBS-WV does business in each county in West Virginia.

       239.    BCBS-WV currently exercises market power in the commercial health insurance

market throughout West Virginia. As of 2011, at least 44 percent of the West Virginia residents

who subscribe to full-service individual commercial health insurance and at least 57 percent of

the West Virginia residents who subscribe to small group policies are subscribers of BCBS-WV.



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       240.    As the dominant insurer in West Virginia, BCBS-WV has led the way in causing

supra-competitive prices. In 2012, BCBS-WV's parent company, Highmark, paid eight current

or former executives more than $1 million in compensation.

       241.    Defendant BCBS-WI is the health insurance plan operating under the Blue Cross

and Blue Shield trademarks and trade names in Wisconsin. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-WI is one of the largest health insurers, as measured by number

of subscribers, within its service area, which is defined as the state of Wisconsin.

       242.    The principal headquarters for BCBS-WI is located at 120 Monument Circle,

Indianapolis, IN 46204. BCBS-WI does business in each county in Wisconsin.

       243.    BCBS-WI currently exercises market power in the commercial health insurance

market throughout Wisconsin. As of 2011, at least 19 percent of the Wisconsin residents who

subscribe to full-service individual commercial health insurance and at least 12 percent of the

Wisconsin residents who subscribe to small group policies are subscribers of BCBS-WI.

       244.    As one of the dominant insurers in Wisconsin, BCBS-WI has led the way in

causing supra-competitive prices.

       245.    Defendant BCBS-WY is the health insurance plan operating under the Blue

Cross and Blue Shield trademarks and trade names in Wyoming. Like other Blue Cross and Blue

Shield plans nationwide, BCBS-WY is one of the largest health insurers, as measured by number

of subscribers, within its service area, which is defined as the state of Wyoming.

       246.    The principal headquarters for BCBS-WY is located at P.O. Box 2266, Cheyenne,

WY 82003. BCBS-WY does business in each county in Wyoming.

       247.    BCBS-WY currently exercises market power in the commercial health insurance

market throughout Wyoming. As of 2011, at least 38 percent of the Wyoming residents who



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subscribe to full-service individual commercial health insurance and at least 61 percent of the

Wyoming residents who subscribe to small group policies are subscribers of BCBS-WY.

       248.    As the dominant insurer in Wyoming, BCBS-WY has led the way in causing

supra-competitive prices.

       249.    Defendant Cambia Health Solutions, Inc. is an Oregon corporation with its

corporate headquarters located at 100 SW Market Street, Portland, OR 97201. Formerly known

as The Regence Group, Inc., Cambia Health Solutions, Inc. officially changed its name in

November 2011. Cambia Health Solutions, Inc. is the largest health insurer in the Northwest or

Intermountain Region, serving more than 2 million members through its subsidiaries and

affiliated health plans. Cambia Health Solutions, Inc., through its subsidiary companies and its

affiliated companies, including defendants BCBS-OR, BCBS-UT, and BCBS-ID, exercises

market dominance as a Blue in its states of operation or within areas of those states. Cambia

Health Solutions, Inc., its subsidiaries, and affiliated companies are collectively referred to as

"Cambia" in this Complaint.


                                 TRADE AND COMMERCE

       250.    The Individual Blue Plans, which own and control BCBSA, are engaged in

interstate commerce and in activities substantially affecting interstate commerce, and the conduct

alleged herein substantially affects interstate commerce. BCBSA enters into agreements with

health insurance companies throughout the country that specify the geographic areas in which

those companies can compete. The Individual Blue Plans provide commercial health insurance

that covers residents of their respective regions (which together include all 50 states) when they

travel across state lines, purchase health care in interstate commerce when these residents require




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health care out of state, and receive payments from employers outside of their regions on behalf

of their regions' residents.


                               CLASS ACTION ALLEGATIONS

       251.    Plaintiffs bring this action seeking damages on behalf of themselves and on behalf

of a class pursuant to the provisions of Rule 23(a) and Rule 23(b)(3) of the Federal Rules of Civil

Procedure, with such class (the "Class" or "South Dakota Class") defined as:

               All persons or entities who, during the period from April 17, 2008 to the
               present (the "Class Period"), have paid health insurance premiums to
               BCBS-SD for individual or small group full-service commercial health
               msurance.

       252.    The Class is so numerous and geographically dispersed that joinder of all

members is impracticable. While Plaintiffs do not know the number and identity of all members

of the Class, Plaintiffs believe that there are thousands of Class members, the exact number and

identities of which can be obtained from BCBSA and the Individual Blue Plans.

       253.    There are questions of law or fact common to the Class, including but not limited

to:

               a. Whether the restrictions set forth in the BCBSA license agreements are per se

                   violations of Section 1 of the Sherman Act, or are otherwise prohibited under

                   Section 1 of the Sherman Act;

               b. Whether, and the extent to which, premiums charged by BCBS-SD have been

                   artificially inflated as a result of the illegal restrictions in the BCBSA license

                   agreements; and

               c. Whether, and the extent to which, premiums charged by BCBS-SD to Class

                   member have been artificially inflated as a result of the anticompetitive

                   practices adopted by them.

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       254.    Plaintiffs are members of the Class; their claims are typical of the claims of the

members of the Class; and Plaintiffs will fairly and adequately protect the interests of the

members of the Class.

       255.    The questions of law or fact common to the members of the Class predominate

over any questions affecting only individual members, including legal and factual issues relating

to liability and damages.

       256.    Plaintiffs and the Class members are direct purchasers of individual or small

group full-service commercial health insurance from BCBS-SD, which dominates the market in

South Dakota, and their interests are coincident with and not antagonistic to other members of

the Class. In addition, Plaintiffs have retained and are represented by counsel who are competent

and experienced in the prosecution of antitrust and class action litigation.

       257.    The prosecution of separate actions by individual members of the Class would

create a risk of inconsistent and varying adjudications, establishing incompatible standards of

conduct for BCBSA and the Individual Blue Plans.

       258.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The Class is readily definable and the Class members will be

identifiable from the defendants' records. Prosecution as a class action will eliminate the

possibility of repetitious litigation. Treatment of this case as a class action will permit a large

number of similarly situated persons to adjudicate their common claims in a single forum

simultaneously, efficiently, and without the duplication of effort and expense that numerous

individual actions would engender. Class treatment will also permit the adjudication of relatively

small claims by many class members who otherwise could not afford to litigate an antitrust claim




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such as is asserted in this Complaint. This class action does not present any difficulties of

management that would preclude its maintenance as a class action.


                                  FACTUAL BACKGROUND

               History of the Blue Cross and Blue Shield Plans and of BCBSA

        259.   The history of the Blue Cross and Blue Shield plans demonstrates that the plans

arose independently, that they jointly conceived of the Blue Cross and Blue Shield marks in a

coordinated effort to create a national brand that each would operate within its local area, and

that they quickly developed into local monopolies in the growing market for health care

coverage. While originally structured as non-profit organizations, since the 1980s, these local

Blue plans have increasingly operated as for-profit entities: either by formally converting to for-

profit status, or by generating substantial surpluses that have been used to fund multi-million

dollar salaries and bonuses for their administrators.

        260.   BCBSA was created by the local Blue plans and is entirely controlled by those

plans. Moreover, the history of BCBSA demonstrates that the origin of the geographic

restrictions in its trademark licenses was an effort to avoid competition between the various Blue

plans, and to ensure that each Blue plan would retain a dominant position within its local service

area.


Development of the Blue Cross Plans

        261.   In 1934, an administrator named E.A. von Steenwyck helped develop a prepaid

hospital plan in St. Paul, Minnesota. In his effort to help sell the plan, he commissioned a poster

that showed a nurse wearing a uniform containing a blue Geneva cross, and used the symbol and

the name "Blue Cross" to identify the plan. This is believed to be the first use of the Blue Cross



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symbol and name as a brand symbol for a health care plan. Within the year, other prepaid

hospital plans began independently using the Blue Cross symbol.

       262.    In 1937, Blue Cross plan executives met in Chicago. At that meeting, American

Hospital Association ("AHA") officials announced that prepaid hospital plans meeting certain

standards of approval would receive institutional membership in the AHA. In 1938, the

Committee on Hospital Service adopted a set of principles to guide its "approval" of prepaid

hospital plans. One such principle was that the plans would not compete with each other. When

the approval program went into effect, there were already 38 independently formed prepaid

hospital plans with a total of 1,365,000 members.

       263.    In 1939, the Blue Cross mark was adopted as the official emblem of those prepaid

hospital plans that received the approval of the AHA.

       264.    In 1941, the Committee on Hospital Service, which had changed its name to the

Hospital Service Plan Committee, introduced a new standard: that approval would be denied to

any plan operating in another plan's service area. Despite this, the independently formed prepaid

hospital plans, now operating under the Blue Cross name, engaged in fierce competition with

each other and often entered each other's territories. The authors of The Blues: A History of the

Blue Cross and Blue Shield System, which BCBSA sponsored and its officers reviewed prior to

publication, describe the heated competition at that time:

       The most bitter fights were between intrastate rivals . . . . Bickering over
       nonexistent boundaries was perpetual between Pittsburgh and Philadelphia, for
       example .... John Morgan, who directed a Plan in Youngstown, Ohio, for nearly
       twenty-five years before going on to lead the Blue Cross Plan in Cincinnati,
       recalled: "In Ohio, New York, and West Virginia, we were knee deep in Plans."
       At one time or another, there were Plans in Akron, Canton, Columbus, Cleveland,
       Cincinnati, Lima, Portsmouth, Toledo, and Youngstown .... By then there were
       also eight Plans in New York and four in West Virginia.... Various reciprocity
       agreements between the Plans were proposed, but they generally broke down
       because the Commission did not have the power to enforce them.


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       265.    For many years, Cross-on-Cross competition continued, as described in Odin

Anderson's Blue Cross Since 1929: Accountability and the Public Trust, which was funded by

the Blue Cross Association, one predecessor to BCBSA. Anderson points to Illinois and North

Carolina, where "[t]he rivalry [between a Chapel Hill plan and a Durham plan] was fierce," as

particular examples, and explains that though "Blue Cross plans were not supposed to overlap

service territories," such competition was "tolerated by the national Blue Cross agency for lack

of power to insist on change."

       266.    By 1975, the Blue Cross plans had a total enrollment of 84 million subscribers.


Development of the Blue Shield Plans

       267.    The development of what became the Blue Shield plans followed, and largely

imitated, the development of the Blue Cross plans. Blue Shield plans were designed to provide a

mechanism for covering the cost of physician care, just as the Blue Cross plans had provided a

mechanism for covering the cost of hospital care. Similarly, the Blue Cross hospital plans were

developed in conjunction with the AHA (which represents hospitals), while the Blue Shield

medical society plans were developed in conjunction with the American Medical Association

("AMA") (which represents physicians).

       268.    Like the Blue Cross symbol, the Blue Shield symbol was developed by a local

medical society plan, and then proliferated as other plans adopted it.

       269.    In 1946, the AMA formed the Associated Medical Care Plans ("AMCP"), a

national body intended to coordinate and "approve" the independent Blue Shield plans. When the

AMCP proposed that the Blue Shield symbol be used to signify that a Blue Shield plan was

"approved," the AMA responded, "It is inconceivable to us that any group of state medical

society Plans should band together to exclude other state medical society programs by patenting

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a term, name, symbol, or product." In 1960, the AMCP changed its name to the National

Association of Blue Shield Plans, which in 1976 changed its name to the Blue Shield

Association.

       270.    By 1975, the Blue Shield plans had a total enrollment of 73 million.


Creation of the Blue Cross and Blue Shield Association

       271.    Historically, the Blue Cross plans and the Blue Shield plans were fierce

competitors. During the early decades of their existence, there were no restrictions on the ability

of a Blue Cross plan to compete with or offer coverage in an area already covered by a Blue

Shield plan. Cross-on-Cross and Shield-on-Shield competition also flourished.

       272.    By the late 1940s, the Blue plans faced growing competition not just from each

other, but also from commercial insurance companies that had recognized the success of the Blue

plans and were now entering the market. Between 1940 and 1946, the number of hospitalization

policies held by commercial insurance companies rose from 3.7 million to 14.3 million policies.

While the Blues remained dominant in most markets, this growth of competition was a threat.

       273.    From 1947 to 1948, the Blue Cross Commission and the AMCP attempted to

develop a national agency for all Blue plans, to be called the Blue Cross and Blue Shield Health

Service, Inc., but the proposal failed. One reason given for its failure was the AMA's fear that a

restraint of trade action might result from such cooperation.

       274.    During the 1950s, while competing with commercial insurers for the opportunity

to provide insurance to federal government employees, the Plans were at war with one another.

As the former marketing chief of the National Association of Blue Shield Plans admitted, "Blue

Cross was separate; Blue Shield was separate. Two boards; two sets of managements. Rivalries,

animosities, some days ... pure, unadulterated hatred of each other."


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       275.    To address the increasing competition, the Blues sought to ensure "national

cooperation" among the different Blue entities. The Plans accordingly agreed to centralize the

ownership of their trademarks and trade names. In prior litigation, BCBSA has stated that the

local plans transferred their rights in the Blue Cross and Blue Shield names and marks to the

precursors of BCBSA because the local plans, which were otherwise actual or potential

competitors, "recognized the necessity of national cooperation."

       276.    In 1954, the Blue Cross plans transferred their rights in each of their respective

Blue Cross trade names and trademarks to the AHA. In 1972, the AHA assigned its rights in

these marks to the Blue Cross Association.

       277.    Likewise, in 1952, the Blue Shield plans agreed to transfer their ownership rights

in their respective Blue Shield trade names and trademarks to the National Association of Blue

Shield Plans, which in 1976 was renamed the Blue Shield Association.

       278.    During the 1970s, local Blue Cross and Blue Shield plans all over the U.S. began

merging. By 1975, the executive committees of the Blue Cross Association and the National

Association of Blue Shield Plans were meeting four times a year. In 1978, the Blue Cross

Association and the National Association of Blue Shield Plans (now called the Blue Shield

Association) consolidated their staffs, although they retained separate boards of directors.

       279.    In 1982, the Blue Cross Association and the Blue Shield Association merged to

form BCBSA. At that time, BCBSA became the sole owner of the various Blue Cross and Blue

Shield trademarks and trade names that had previously been owned by the local plans.

       280.    In November 1982, after heated debate, BCBSA's member plans agreed to two

propositions: (1) by the end of 1984, all existing Blue Cross plans and Blue Shield plans would

consolidate at a local level to form Blue Cross and Blue Shield plans; and (2) by the end of 1985,



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all Blue plans within a state would further consolidate, ensuring that each state would have only

one Blue plan. As a result of these goals, the number of member plans declined sharply from 11 O

in 1984, to 75 in 1989, to 36 today.

         281.   Even consolidation did not end competition between Blue plans. In the early

1980s, for example, Blue Cross of Northeastern New York and Blue Shield of Northeastern New

York competed head-to-head.

         282.   During the 1980s and afterwards, the plans began to operate less like charitable

entities and more like for-profit corporations, accumulating substantial surpluses. In 1986,

Congress revoked the Blues' tax-exempt status, freeing them to form for-profit subsidiaries.

         283.   In 1992, BCBSA ceased requiring Blue Cross and Blue Shield licensees to be not-

for-profit entities. As a result, many member plans converted to for-profit status. One such plan,

now called Anthem, has grown to become, by some measures, the largest health insurance

company in the country. While nominally still characterized as not-for-profit, a number of the

Individual Blue Plans generate substantial earnings and surpluses, and pay their senior

administrators and officials substantial salaries and bonuses - often in the multi-million dollar

range.

         284.   From 1981 to 1986, the Blue plans lost market share at a rate of approximately

one percent per year. At the same time, the amount of competition among Blue plans, and from

non-Blue subsidiaries of Blue plans, increased substantially. As a result of this increased

competition, in April of 1987, the member plans of BCBSA held an "Assembly of Plans" -- a

series of meetings held for the purpose of determining how they would and would not compete

against each other. During these meetings, these independent health insurers and competitors

agreed to maintain exclusive service areas when operating under the Blue brand, thereby



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eliminating "Blue on Blue" competition. However, the Assembly of Plans did not restrain

competition by non-Blue subsidiaries of Blue plans - an increasing "problem" that had caused

complaints from many Blue plans.

       285.    After the 1986 revocation of the Blues' tax-exempt status and throughout the

1990s, the number of non-Blue subsidiaries of Blue plans increased. As quoted in The Blues: A

History of the Blue Cross and Blue Shield System, former BCBSA counsel Marv Reiter

explained in 1991, "Where you had a limited number of subsidiaries before, clearly they

mushroomed like missiles .... We went from 50 or 60 nationally to where there's now 400 and

some." These subsidiaries continued to compete with Blue plans. As a result, the member plans

ofBCBSA discussed ways to rein in such non-Blue branded competition.

       286.    At some later date, the Blue Cross and Blue Shield plans together agreed to

restrict the territories in which they would operate under any brand, Blue or non-Blue, as well as

the ability of non-members of BCBSA to control or acquire the member plans. These illegal

restraints are discussed below.


              Allegations Demonstrating Control of BCBSA By Member Plans

       287.    BCBSA calls itself "a national federation of 38 independent, community-based

and locally operated Blue Cross and Blue Shield companies" and ''the trade association for the

Blue Cross Blue Shield companies."

       288.    The Plans are the members of, and govern, BCBSA. BCBSA is entirely controlled

by its member plans, all of whom are independent health insurance companies that license the

Blue Cross and/or Blue Shield trademarks and trade names, and that, but for any agreements to

the contrary, could and would compete with one another. On its website, BCBSA admits that in




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its "unique structure," "the Blue Cross and Blue Shield companies are [its] customers, [its]

Member Licensees and [its] governing Board."

       289.   As at least one federal court has recognized, BCBSA "is owned and controlled by

the member plans" to such an extent that "by majority vote, the plans could dissolve the

Association and return ownership of the Blue Cross and Blue Shield names and marks to the

individual plans." Central Benefits Mut. Ins. Co. v. Blue Cross and Blue Shield Ass'n, 711 F.

Supp. 1423, 1424-25 (S.D. Ohio 1989).

       290.   The Blue Cross and Blue Shield licensees control the Board of Directors of

BCBSA. In a pleading it filed during litigation in the Northern District of Illinois, BCBSA

admitted that its Board of Directors consists of "the chief executive officer from each of its

Member Plans and BCBSA's own chief executive officer." The chairman of the Board of

Directors through November 2014, John Forsyth, was also the Chairman and CEO of Wellmark.

The CEO of each of the Individual Blue Plans serves on the Board of Directors of BCBSA. The

Board of Directors of BCBSA meets quarterly.


                    License Agreements and Restraints on Competition

       291.   The independent Blue Cross and Blue Shield licensees also control BCBSA's

Plan Performance and Financial Standards Committee (the "PPFSC"). The PPFSC is a standing

committee of the BCBSA Board of Directors that is composed of nine member Plan CEOs and

three independent members.

       292.   The independent Blue Cross and Blue Shield licensees control the entry of new

members into BCBSA. In a brief it filed during litigation in the Sixth Circuit Court of Appeals,

BCBSA admitted that "[t]o be eligible for licensure, [an] applicant ... must receive a majority




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vote of [BCBSA's] Board" and that BCBSA "seeks to ensure that a license to use the Blue

Marks will not fall into the hands of a stranger the Association has not approved."

       293.    The independent Blue Cross and Blue Shield licensees control the rules and

regulations that all members of BCBSA must obey. According to the brief BCBSA filed during

litigation in the Sixth Circuit Court of Appeals, these rules and regulations include the Blue

Cross License Agreement and the Blue Shield License Agreement (collectively, the "License

Agreements"), the Membership Standards Applicable to Regular Members (the "Membership

Standards"), and the Guidelines to Administer Membership Standards (the "Guidelines").

       294.    The License Agreements state that they "may be amended only by the affirmative

vote of three-fourths of the Plans and three-fourths of the total then current weighted vote of all

the Plans." Under the terms of the License Agreements, a plan "agrees ... to comply with the

Membership Standards." In its Sixth Circuit brief, BCBSA described the provisions of the

License Agreements as something the member plans "deliberately chose," "agreed to," and

"revised." The License Agreements explicitly state that the member plans most recently met to

adopt amendments, if any, to the licenses on June 21, 2012.

       295.    The Guidelines state that the Membership Standards and the Guidelines "were

developed by the [PPFSC] and adopted by the Member Plans in November 1994 and initially

became effective as of December 31, 1994;" that the Membership Standards "remain in effect

until otherwise amended by the Member Plans;" that revisions to the Membership Standards

"may only be made if approved by a three-fourths or greater affirmative Plan and Plan weighted

vote;" that "new or revised guidelines shall not become effective ... unless and until the Board

of Directors approves them;" and that the "PPFSC routinely reviews" the Membership Standards




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and Guidelines "to ensure that . . . all requirements (standards and guidelines) are appropriate,

adequate and enforceable."

       296.    The independent Blue Cross and Blue Shield licensees police the compliance of

all members of BCBSA with the rules and regulations of BCBSA. The Guidelines state that the

PPFSC "is responsible for making the initial determination about a Plan's compliance with the

license agreements and membership standards. Based on that determination, PPFSC makes a

recommendation to the BCBSA Board of Directors, which may accept, reject, or modify the

recommendation."     In addition, the Guidelines state that "BCBSA shall send a triennial

membership compliance letter to each [member] Plan's CEO," which includes, among other

things, "a copy of the Membership Standards and Guidelines, a report of the Plan's licensure and

membership status by Standard, and PPFSC comments or concerns, if any, about the Plan's

compliance with the License Agreements and Membership Standards." In response, "[t]he Plan

CEO or Corporate Secretary must certify to the PPFSC that the triennial membership compliance

letter has been distributed to all Plan Board Members."

       297.   The independent Blue Cross and Blue Shield licensees control and administer the

disciplinary process for members of BCBSA that do not abide by BCBSA's rules and

regulations. The Guidelines describe three responses to a member plan's failure to comply-

"Immediate Termination," "Mediation and Arbitration," and "Sanctions"--each of which is

administered by the PPFSC and could result in the termination of a member plan's license.

       298.   The independent Blue Cross and Blue Shield licensees likewise control the

termination of existing members from BCBSA. The Guidelines state that based on the PPFSC's

"initial determination about a Plan's compliance with the license agreements and membership

standards .... PPFSC makes a recommendation to the BCBSA Board of Directors, which may



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accept, reject, or modify the recommendation." However, according to the Guidelines, "a Plan's

licenses and membership [in BCBSA] may only be terminated on a three-fourths or greater

affirmative Plan and Plan weighted vote." In its Sixth Circuit brief, BCBSA admitted that the

procedure for terminating a license agreement between BCBSA and a member plan includes a

"double three-quarters vote" of the member plans of the BCBSA: "In a double three-quarters

vote, each plan votes twice - first with each Plan's vote counting equally, and then with the votes

weighted primarily according to the number of subscribers."


                                    Horizontal Agreements

       299.     The independent Blue Cross and Blue Shield licensees are potential competitors

that use their control of BCBSA to coordinate their activities. As a result, the rules and

regulations imposed "by" the BCBSA on the member plans are in truth imposed by the member

plans on themselves.

       300.     Each BCBSA licensee is an independent legal organization. In a pleading BCBSA

filed during litigation in the Southern District of Florida, BCBSA admitted that "[t]he formation

of BCBSA did not change each plan's fundamental independence." The License Agreements

state that "[n]othing herein contained shall be construed to constitute the parties hereto as

partners or joint venturers, or either as the agent of the other." As BCBS-AL's group health

insurance policy contract explains, "Blue Cross and Blue Shield of Alabama is an independent

corporation operating under a license from the Blue Cross and Blue Shield Association, an

association of independent Blue Cross and Blue Shield plans. The Blue Cross and Blue Shield

Association permits us to use the Blue Cross and Blue Shield service marks in the state of

Alabama. Blue Cross and Blue Shield is not acting as an agent of the Blue Cross and Blue Shield

Association."


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       301.    The independent Blue Cross and Blue Shield licensees include many of the largest

health insurance companies in the United States. By some measures, Anthem is the largest health

insurance company in the nation. Similarly, fifteen of the twenty-five largest health insurance

companies in the country are BCBSA licensees. On its website, BCBSA states that its members

together provide "coverage for nearly 100 million people - one-third of all Americans" and that,

nationwide, "more than 96% of hospitals and 91 % of professional providers contract with Blue

Cross and Blue Shield companies - more than any other insurers." Absent the restrictions that

the independent Blue Cross and Blue Shield licensees have chosen to impose on themselves,

discussed below, these companies would compete against each other in the market for

commercial health insurance.

       302.    In its Sixth Circuit brief, BCBSA admitted that the Member Plans formed the

precursor to BCBSA when they "recognized the necessity of national coordination." The authors

of The Blues: A History of the Blue Cross and Blue Shield System describe the desperation of the

Blue Cross and Blue Shield licensees before they agreed to impose restrictions on themselves:

       The subsidiaries kept running into each other-and each other's parent Blue
       Plans-in the marketplace. Inter-Plan competition had been a fact of life from the
       earliest days, but a new set of conditions faced the Plans in the 1980s, now in a
       mature and saturated market. New forms of competition were springing up at
       every turn, and market share was slipping year by year. Survival was at stake. The
       stronger business pressure became, the stronger the temptation was to breach the
       service area boundaries for which the Plans were licensed ....

       303.    On its website, BCBSA admits that "[w]hen the individual Blue companies'

priorities, business objectives and corporate culture conflict, it is our job to help them develop a

united vision and strategy" and that BCBSA "[e]stablishes a common direction and cooperation

between [BCBSA] and the 39 [now 36] Blue companies." As BCBSA's general counsel, Roger

G. Wilson, explained to the Insurance Commissioner of Pennsylvania, "BCBSA's 39 [now 36]



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independent licensed companies compete as a cooperative federation against non-Blue insurance

companies." One BCBSA member plan admitted in its February 17, 2011 Form 10-K that

"[e]ach of the [36] BCBS companies ... works cooperatively in a number of ways that create

significant market advantages .... "

       304.    As the foregoing demonstrates, BCBSA is a vehicle used by independent health

insurance companies to enter into agreements that restrain competition. Because BCBSA is

owned and controlled by its member plans, any agreement between BCBSA and one of its

member plans constitutes a horizontal agreement between and among the member plans

themselves.


                        The Horizontal Agreements Not To Compete

       305.    The rules and regulations of BCBSA, including, but not limited to, the License

Agreements, the Membership Standards, and the Guidelines, constitute horizontal agreements

between competitors, the independent Blue Cross and Blue Shield licensees, to divide the

geographic market for health insurance. As such, they are a per se violation of Section 1 of the

Sherman Act.

       306.    Defendants have divided U.S. health care markets for insurance among

themselves by dividing the nation into exclusive service areas allocated to individual Blues.

Through the License Agreements, Guidelines, and Membership Standards, which the

independent Blue Cross and Blue Shield licensees created, control, and enforce, each

independent Blue Cross and Blue Shield licensee agrees that neither it nor its subsidiaries will

compete under the licensed Blue Cross and Blue Shield trademarks and trade names outside of a

designated "Service Area." The License Agreement defines each licensee's Service Area as "the




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geographical area(s) served by the Plan on June 10, 1972, and/or as to which the Plan has been

granted a subsequent license."

        307.   Further, Defendants have allocated U.S. health care markets for insurance among

themselves by agreeing to limit their competition against one another when not using the Blue

names. The Guidelines and Membership Standards, which the independent Blue Cross and Blue

Shield licensees created, control, and enforce, and with which each licensee must agree to

comply as part of the License Agreements, establish two key restrictions on non-Blue

competition. First, each independent Blue Cross and Blue Shield licensee agrees that at least 80

percent of the annual revenue that it or its subsidiaries generate from within its designated

Service Area (excluding Medicare and Medicaid) shall be derived from services offered under

the licensed Blue Cross and Blue Shield trademarks and trade names. This provision directly

limits the ability of each Blue plan to generate revenue from non-Blue branded business. This

provision also thereby limits the ability of each plan to develop non-Blue brands that could and

would compete with Blue plans. It further discourages and disincentivizes each plan from

developing any non-Blue branded businesses.

       308.    Second, each independent Blue Cross and Blue Shield licensee further agrees that

at least two-thirds of the annual revenue generated by it or its subsidiaries from either inside or

outside of its designated Service Area (excluding Medicare and Medicaid) shall be attributable to

services offered under the Blue Cross and Blue Shield trademarks and trade names. The

Guidelines provide that national emollment can be substituted for annual revenue, making the

alternative restriction that a plan will derive no less than 66-2/3 percent of its national emollment

from its Blue-brand business. This provision directly limits the ability of each Blue plan to

generate revenue from non-Blue branded business, and thereby limits the ability of each plan to



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develop non-Blue brands that could and would compete with Blue plans. It further discourages

and disincentivizes each plan from developing any non-Blue branded businesses.

       309.    The one-third cap on non-Blue revenue provides a licensee with minimal, if any,

incentive to compete outside its Service Area. To do so, the licensee would have to buy, rent, or

build a provider network under a non-Blue brand, while ensuring that revenue derived from that

brand did not exceed the one-third cap. Should the licensee offer services and products under the

non-Blue brand within its Service Area (which is likely, since that is its base of operations), that

would further reduce the amount of non-Blue revenue it is permitted to earn from outside its

designated area. Thus, the potential upside of making an investment in developing business

outside of a designated area is severely limited, which obviously creates a disincentive from ever

making that investment.

       310.    In sum, each independent Blue Cross and Blue Shield licensee has agreed with its

potential competitors that each will exercise the exclusive right to use the Blue brand within a

designated geographic area, derive none of its revenue from services offered under the Blue

brand outside of that area, and derive at most one-third of its revenue from outside of its

exclusive area, using services offered under a non-Blue brand. The latter amount will be further

reduced if the licensee derives any of its revenue within its designated geographic area from

services offered under a non-Blue brand.

       311.    The foregoing restrictions on the ability of Blue plans to generate revenue outside

of their service areas constitute agreements between competitors to divide and allocate

geographic markets, and therefore are per se violations of Section I of the Sherman Act.

       312.    More than one Blue Cross and Blue Shield licensee has publicly admitted the

existence of these territorial market divisions. For example, the former Blue Cross licensee in



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Ohio alleged that BCBSA member plans agreed to include these restrictions in the Guidelines in

1996 in an effort to block the sale of one member plan to a non-member that might present

increased competition to another member plan.

       313.   The largest Blue licensee, WellPoint, now doing business as Anthem, Inc., is a

publicly-traded company, and therefore is required by the SEC rules to describe the restrictions

on its ability to do business. Thus, in its Form 10-K filed February 22, 2013, WellPoint stated

that it had "no right to market products and services using the Blue Cross and Blue Shield names

and marks outside of the states in which we are licensed to sell Blue Cross and Blue Shield

products." WellPoint has further stated that the "license agreements with the BCBSA contain

certain requirements and restrictions regarding our operations and our use of the Blue Cross and

Blue Shield names and marks, including ... a requirement that at least 80% ... of a licensee's

annual combined local net revenue, as defined by the BCBSA, attributable to health benefit plans

within its service area must be sold, marketed, administered or underwritten under the Blue

Cross and Blue Shield names and marks" and "a requirement that at least 66 2/3% of a licensee's

annual combined national net revenue, as defined by the BCBSA, attributable to health benefit

plans must be sold, marketed, administered or underwritten under the Blue Cross and Blue

Shield names and marks."

       314.   Likewise, in its Form 10-K filed March 14, 2013, Triple-S Salud, the Blue

licensee for Puerto Rico, explained that "[p]ursuant to our license agreements with BCBSA, at

least 80% of the revenue that we earn from health care plans and related services in [its Service

Area] and at least 66.7% of the revenue that we earn from (or at least 66.7% of the enrollment

for) health care plans and related services both in [and outside its Service Area], must be sold,

marketed, administered, or underwritten through use of the Blue Cross Blue Shield" name and



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mark. Further, the Triple-S licensee stated that the territorial restrictions "may limit the extent to

which we will be able to expand our health care operations, whether through acquisitions of

existing managed care providers or otherwise, in areas where a holder of an exclusive right to the

Blue Cross Blue Shield Names and Marks is already present."

        315.   Despite these public admissions, both BCBSA and its member plans have

attempted to keep the territorial restrictions as secret as possible. When asked by the Insurance

Commissioner of Pennsylvania to "[p ]lease describe any formal or informal limitations that

BSBSA [sic] places on competition among holders of the [Blue] mark as to their use of

subsidiaries that do not use the mark," BCBSA's general counsel responded that "BCBSA

licensed companies may compete anywhere with non-Blue branded business .... The rules on

what the plans do in this regard are contained in the license. However, the license terms

themselves are proprietary to BCBSA, and ... we would prefer not to share such trade secrets

with BCBSA's competitors."

       316.    The member plans of BCBSA have agreed to impose harsh penalties on those that

violate the territorial restrictions. According to the Guidelines, a licensee that violates one of the

territorial restrictions could face "[l]icense and membership termination." If a member plan's

license and membership are terminated, it loses the use of the Blue brands, which BCBSA

admits on its website are "the most recognized in the health care industry." In addition, in the

event of termination, a plan must pay a fee to BCBSA. According to WellPoint/Anthem's

February 22, 2013 Form 10-K filing, that "Re-establishment Fee," which was $98.33 per

emollee through December 31, 2012, "would allow the BCBSA to 're-establish' a Blue Cross

and/or Blue Shield license in the vacated service area."




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        317.    In sum, a terminated licensee would (1) lose the brand through which it derived

the majority of its revenue; and (2) fund the establishment of a competing health insurer that

would replace it as the Blue licensee in its local area. These penalties essentially threaten to put

out of existence any Blue member plan that breaches the territorial restrictions.

       318.    It is unsurprising, then, that most member plans do not operate outside of their

Service Areas. Thus, while there are numerous Blue plans, and non-Blue businesses owned by

such plans, that could and would compete effectively in each other's Service Areas but for the

territorial restrictions, almost none compete outside their Service Areas under non-Blue names

and brands, despite their ability to do so.

       319.    Even in the relatively rare instance in which Blue plans conduct operations

outside of their Service Areas, they have been required to keep those operations tightly under

control by preventing growth - exactly the opposite of how they would normally operate. The

relationship between WellPoint and its non-Blue subsidiary, UniCare, is an illustrative example.

WellPoint reported in its Form 10-K for the year ending December 31, 1999 that approximately

70 percent of its total medical membership was sold by its Blue-licensed subsidiary, Blue Cross

of California. In its Form 10-K for the year ending December 31, 2000, this percentage

decreased to approximately 67 percent. In its Form 10-K for the year ending December 31, 2001,

after WellPoint had acquired the BCBSA member plans operating in Georgia and part of

Missouri, WellPoint reported that approximately 78 percent of its total medical membership was

in its Blue-licensed subsidiaries.

       320.    By the time WellPoint filed its 10-K for the year ending December 31, 2005, it

had acquired the Blue licensees in fourteen states. For the first time, it admitted the existence of

the territorial restrictions in the BCBSA licenses and stated that it was in compliance with them.



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As a result of these restrictions, from 1999 to 2002, while other Texas health insurers

experienced average revenue growth of 17 percent, UniCare experienced growth of only 1.4

percent in Texas. During those same years, UniCare experienced virtually no growth in the state

of Washington, while overall health insurance revenue in the state grew by 17 percent. Similarly,

in New Jersey from 2000 to 2002, the number of out-of-Service-Area enrollees of WellChoice

(which became a part of WellPoint/Anthem and is known as Empire BlueCross BlueShield) did

not increase, despite an overall 25 percent growth rate for health insurers in the state during the

same period. In Mississippi, between 2001 and 2002, premium revenue earned by most health

insurance companies increased by more than 10 percent, but revenue for the non-Blue business

of out-of-state Blue plans was either flat (in the case of UniCare) or negative (in the case of the

former Anthem).

       321.    In another example, as of 2010, one Pennsylvania Blue plan, Independence Blue

Cross, had 2.4 million Blue-brand commercial health insurance enrollees in its service area of

Southeastern Pennsylvania, and had close to 1 million non-Blue brand Medicare and Medicaid

enrollees (to which the territorial restrictions do not apply) in Indiana, Kentucky, Pennsylvania,

and South Carolina, but its non-Blue brand commercial health insurance subsidiary,

AmeriHealth, which operates in New Jersey and Delaware, had an enrollment of only

approximately 130,000, or 4 percent of Independence Blue Cross's total commercial health

insurance enrollment.

       322.    The territorial restrictions agreed to by all BCBSA members operate to restrain

competition by preventing member plans from competing with each other and with non-Blue

plans. These prohibitions on competition apply no matter how favorable the efficiencies and




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economies of scale that might result from expansion of a Blue into a new area, and no matter

how much premiums and other costs might be reduced if competition were permitted.


                          The Anticompetitive Acquisition Restrictions

        323.   In addition to the per se illegal territorial restrictions summarized above, the rules

and regulations of BCBSA, which the independent Blue Cross and Blue Shield licensees created,

control, and agree to obey, also include provisions that restrict the ability of non-members of

BCBSA to acquire or obtain control over any member plan.

       324.    First, the rules and regulations prohibit acquisition of a Plan by a non-Blue entity

without the approval of BCBSA. The Guidelines state that "[n]either a [Member] Plan nor any

Larger Controlled Affiliate shall cause or permit an entity other than a [Member] Plan or a

Licensed Controlled Affiliate thereof to obtain control of the [Member] Plan or Larger

Controlled Affiliate or to acquire a substantial portion of its assets related to licensable services."

Should a non-member wish to obtain such control or assets, it "is invited to apply to become a

licensee." However, as alleged above, the member plans control the entry of new members into

BCBSA. Should a non-member attempt to join BCBSA to obtain control of, or to acquire a

substantial portion of, the assets of a member plan, the other member plans accordingly may

block its membership by majority vote.

       325.    Second, the License Agreements contain a number of acquisition restrictions

applicable to for-profit Blue Cross and Blue Shield licensees (i.e., to those licensees who would

otherwise be capable of having their shares acquired). These include four situations in which a

member plan's license will terminate automatically: (1) if any institutional investor becomes

beneficially entitled to 10 percent or more of the voting power of the member plan; (2) if any

non-institutional investor becomes beneficially entitled to 5 percent or more of the voting power


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of the member plan; (3) if any person becomes beneficially entitled to 20 percent or more of the

member plan's then-outstanding common stock or equity securities; or (4) if the member plan

conveys, assigns, transfers, or sells substantially all of its assets to any person, or consolidates or

merges with or into any person (other than a merger in which the member plan is the surviving

entity and in which, immediately after the merger, no institutional investor is beneficially entitled

to 10 percent or more of the voting power, no non-institutional investor is beneficially entitled to

5 percent or more of the voting power, and no person is beneficially entitled to 20 percent of

more of the then-outstanding common stock or equity securities). These restrictions apply unless

modified or waived in particular circumstances upon the affirmative vote both of a majority of

the disinterested member plans and also of a majority weighted vote of the disinterested member

plans. These restraints effectively preclude the sale of a BCBSA member to a non-member

entity, absent special approval.

       326.    These acquisition restraints reduce competition in violation of the Sherman Act

because they substantially reduce the ability of non-member insurance companies to expand their

business and compete against the Individual Blue Plans. To expand into a new geographic area, a

non-member insurance company faces the choice of whether to build its own network in that

area, or to acquire a network by buying some or all of an existing plan doing business in that

area. Through the acquisition restrictions, the Blue plans have conspired to force competitors to

build their own networks, and have effectively prohibited those competitors from ever choosing

what may often be the more efficient solution of acquiring new networks by purchasing some or

all of an existing Blue plan. By preventing non-Blue entities from acquiring Blue entities and

their networks, the acquisition restrictions in the BCBSA licenses effectively force competitors




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to adopt less efficient methods of expanding their networks, thereby reducing and in some

instances eliminating competition.

       327.    Since the 1996 adoption of the acquisition restrictions, the only acquisitions of

Blue Cross or Blue Shield licensees have been acquisitions by other member plans. During the

period from 1996 to the present, there has been a wave of consolidation among the Blue plans:

in 1996, there were 62 Blue licensees; at present, there are only 36.

       328.    By agreeing to restrict the pool of potential purchasers of a Blue licensee to other

Blue licensees, the member plans of BCBSA raise the costs their rivals must incur to expand

their networks and areas of practice, reduce efficiency, and protect themselves and each other

from competition. The net effect is less competition and higher premium costs for consumers.


               The BCBSA Licensing Agreements Have Reduced Competition
                         In Regions Across The United States

       329.    The Individual Blue Plans, as licensees, members, and parts of the governing

body of BCBSA, have conspired with each other (the member plans of BCBSA) to create,

approve, abide by, and enforce the rules and regulations of BCBSA, including the per se illegal

territorial restrictions in the License Agreements and Guidelines.

       330.    But for the per se illegal territorial restrictions, many of the Individual Blue Plans

would otherwise be significant competitors of each other in their respective Service Areas. As

alleged above, fifteen of the twenty-five largest health insurance companies in the country are

Blue plans: if all of these plans, together with all other BCBSA members, were able to compete

with each other, the result would be lower costs and thus lower premiums paid by their enrollees.

       331.    For example, Anthem is the largest health insurer in the country by total medical

enrollment, with approximately 36 million enrollees. It is the Blue Cross and Blue Shield

licensee for Georgia, Kentucky, and portions of Virginia, as well as for California (Blue Cross

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only), Colorado, Connecticut, Indiana, Maine, Missouri (excluding 30 counties in the Kansas

City area), Nevada, New Hampshire, New York (as Blue Cross Blue Shield in 10 New York City

metropolitan and surrounding counties, and as Blue Cross or Blue Cross Blue Shield in selected

upstate counties only), Ohio, and Wisconsin, and also serves customers throughout the country

through its non-Blue brand subsidiary, UniCare. But for the illegal territorial restrictions

summarized above, Anthem would be likely to offer its health insurance services and products in

many more regions across the United States in competition with the Individual Blue Plans in

those regions. Such competition would result in lower health care costs and premiums paid by

the other Individual Blue Plans' enrollees.

       332.    Similarly, with more than 13 million members, Health Care Service Corporation

("HCSC"), which operates BCBS-IL, BCBS-NM, BCBS-OK, BCBS-MT and BCBS-TX, is the

largest mutual health insurance company in the country and the fourth largest overall. But for the

illegal territorial restrictions summarized above, HCSC would be likely to offer its health

insurance services and products in many more regions across the United States in competition

with the Individual Blue Plans in those regions. Such competition would result in lower health

care costs and premiums paid by the other Individual Blue Plans' enrollees.

       333.    BCBS-MI is the ninth largest health insurer in the country by total medical

enrollment, with approximately 4.5 million enrollees in its Service Area of Michigan. But for the

illegal territorial restrictions summarized above, BCBS-MI would be likely to offer its health

insurance services and products in more regions across the United States in competition with the

Individual Blue Plans in those regions. Such competition would result in lower health care costs

and premiums paid by the other Individual Blue Plans' enrollees.




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       334.    Highmark, Inc. is the tenth largest health insurer in the country by total medical

enrollment, with approximately 4.1 million enrollees. Its affiliated Blue plans include Highmark

BCBS, BCBS-WV, and BCBS-DE. But for the illegal territorial restrictions summarized above,

Highmark would be likely to offer its health insurance services and products in more regions

across the United States in competition with the Individual Blue Plans in those regions. Such

competition would result in lower health care costs and premiums paid by the other Individual

Blue Plans' enrollees.

       335.    BCBS-AL is the thirteenth largest health insurer in the country by total medical

enrollment, by some measures, with approximately 3.5 million enrollees. But for the illegal

territorial restrictions summarized above, BCBS-AL would be likely to offer its health insurance

services and products in more regions across the United States in competition with the Individual

Blue Plans in those regions. Such competition would result in lower health care costs and

premiums paid by the other Individual Blue Plans' enrollees.

       336.    CareFirst, Inc., which operates the Blue Plans in Maryland, Washington, DC, and

parts of Virginia, is the fourteenth largest health insurer in the U.S. and the largest health care

insurer in the Mid-Atlantic region, with approximately 3.33 million subscribers. But for the

illegal territorial restrictions summarized above, CareFirst would be likely to offer its health

insurance services and products in more regions across the United States in competition with the

Individual Blue Plans in those regions. Such competition would result in lower health care costs

and premiums paid by the other Individual Blue Plans' enrollees.

       337.    BCBS-MA is the seventeenth largest health insurer in the country by total medical

enrollment, with approximately 3 million enrollees in its service area of Massachusetts. But for

the illegal territorial restrictions summarized above, BCBS-MA would be likely to offer its



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health insurance services and products in more regions across the United States in competition

with the Individual Blue Plans in those regions. Such competition would result in lower health

care costs and premiums paid by the other Individual Blue Plans' enrollees.

       338.    BCBS-FL is the eighteenth largest health insurer in the country by total medical

enrollment, with approximately 2.9 million enrollees in its service area of Florida. But for the

illegal territorial restrictions summarized above, BCBS-FL would be likely to offer its health

insurance services and products in more regions across the United States in competition with the

Individual Blue Plans in those regions. Such competition would result in lower health care costs

and premiums paid by the other Individual Blue Plans' enrollees.


                   Supra-Competitive Premiums Charged by BCBS Plans

       339.    From February 7, 2008 to the present, the Individual Blue Plans' illegal

anticompetitive conduct has restrained competition, prevented entry by Individual Blue Plans

and their non-Blue affiliates into other markets, increased health care costs, inflated premiums,

and deprived individuals and small groups of the opportunity to purchase health insurance in the

relevant markets from one or more additional Individual Blue Plans and/or their non-Blue

affiliates, at a lower premium rate and/or at a price set by a market free from the non-price

restraints imposed by Defendants' anti-competitive agreements.

       340.    Plaintiffs and the Class were damaged by paying supra-competitive premiums,

which are to be calculated by estimating the premiums that would have been actually charged to

consumers but for the Individual Blue Plans' antitrust violations, not the base rates or rate

"schedules" filed with a state agency.




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       341.    Plaintiffs have also suffered damages as a result of not being offered lower health

insurance premium rates by competitors or potential competitors that have not entered the

relevant market.


                            The Widespread Use By BCBSA Licensees Of
                            Anticompetitive Most Favored Nation Clauses

       342.    Over the past two decades (if not longer), numerous Blue plans have adopted

what are described in the industry as "Most Favored Nation" ("MFN") clauses in their

reimbursement agreements.

       343.    MFNs (also known as "most favored customer," "most favored pricing," "most

favored discount," or "parity" clauses) require a service provider to charge a Blue entity's

competitors either more than, or no less than, what the provider charges the Blue entity for the

same services. MFNs that require the amount the provider charges the Blue entity's competitor

to be higher than the amount the provider charges the Blue entity are often known as "MFN-

plus" clauses, and typically require the amount to be higher by a specified percentage.

       344.    Use of MFNs by the Blues unreasonably reduces competition for a number of

reasons. First, MFNs establish that the dominant market provider will be charged the lowest

prices. The Blues have the ability to pass through costs, thus making them indifferent to the

actual price charged in markets in which they are dominant, as long as they are not competitively

disadvantaged. The MFNs thus reduce competition by eliminating an incentive for the Plans to

reduce overhead prices.

       345.    Second, MFNs limit competition by preventing other health insurers in the region

from achieving lower costs with providers and thereby becoming significant competitors to the

MFN user. Because of the Blues' market power in their respective Service Areas, the MFN user



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can pass its own higher costs onto consumers through higher premiums without fearing that its

competitors will be able to reduce premiums and draw consumers from it.

       346.    MFNs also effectively establish a price floor below which providers will not sell

services to the MFN user's competitors. MFNs enable the MFN user to raise that price floor. The

price floors deter competition among health insurers in the relevant region. By reducing the

ability of the MFN user's competitors to compete against the MFN user, MFNs ensure that the

Plans can substantially raise premiums while maintaining, or even increasing, its market share.

       347.    Moreover, if the MFN user is certain that no insurer will pay less to a provider

than it will, it will be willing to pay more to that provider than it would otherwise. The more the

MFN user agrees to pay that provider, the more its competitors must pay that provider. And by

raising the price floor, the MFN user keeps other insurers' costs artificially high, forcing those

insurers to offset the higher costs by raising premiums.

       348.    Third, MFNs raise barriers to entry in the market for commercial health insurance.

If a provider can reduce the price it charges an insurer with little to no market share only by

reducing the price it charges a market-dominant MFN user, the provider has a strong incentive

not to lower prices. Without the ability to compete on price, a new competitor will be unable to

price below the market-dominant MFN user, and thus will be unable to survive.

       349.    A number of the independent Blue Cross and Blue Shield licensees, including

BCBS-MI, BCBS-NC, Highmark BCBS, and BCBS-SC, have used and/or continue to use MFNs

to exploit the monopoly power they hold in their respective Service Areas. These independent

Blue Cross and Blue Shield licensees, including BCBS-MI, BCBS-NC, Highmark BCBS, and

BCBS-SC, have coordinated their use ofMFNs with other Blue entities.




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       350.   Use of MFNs and related techniques is widespread and pervasive among Blue

plans. The member plans of BCBSA have discussed the legality and usefulness of MFNs at

BCBSA gatherings, such as the BCBSA 41 st Annual Lawyers Conference, held May 3, 2007 in

Miami, Florida. There, a presenter informed representatives of the member plans that "DOJ and

FTC have focused on potential anticompetitive character of MFN clauses, particularly on

exclusionary impact" and that "[w]here [an] MFN has overall exclusionary effect on competition

and entrenches market power, it could be actionable."

       351.   On October 18, 2010, the U.S. Department of Justice and the Attorney General of

Michigan filed a joint complaint in the United States District Court for the Eastern District of

Michigan, accusing BCBS-MI of engaging in a widespread anticompetitive use of MFNs. In the

complaint, the Department of Justice alleges that BCBS-MI "currently has agreements

containing MFNs or similar clauses with at least 70 of Michigan's 131 general acute care

hospitals" and that these MFNs were sought and obtained "in exchange for increases in prices

[the insurer] pays for the hospitals' services," "likely raising prices for health insurance in

Michigan." On March 25, 2011, the Wall Street Journal reported that the U.S. Department of

Justice expanded its probe into the use of MFNs by the member plans operating in the North

Carolina, the District of Columbia, Kansas, Missouri, Ohio, South Carolina, and West Virginia.

The Department of Justice voluntarily dismissed its suit against BCBS-MI after the state of

Michigan passed legislation prohibiting BCBS-MI from continuing to exploit its market power

through MFN use.

       352.   There is direct evidence that, like BCBS-MI and its fellow member plans of

BCBSA, BCBS-NC uses MFNs in its contracts with providers. On July 13, 2006, BCBS-NC

admitted that "BCBSNC's favorable pricing [MFN] clause has been in use for years." BCBS-



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NC's use of MFNs has raised the costs of its competitors, has protected it from competition (and

thereby protected its ever-growing market share), and has contributed to the artificial inflation of

its health insurance premiums in North Carolina.

       353.    From 2006 to 2009, BCBS-NC used at least four form provider agreements that

included MFNs. These form provider agreements (May 15, 2006, December 19, 2007, May 21,

2008, and May 8, 2009) all included an MFN stating that:

       Provider acknowledges and warrants that, as of [date], Provider [has notified
       BCBSNC of] [does not have [and will not enter into]] any contract, agreement, or
       other arrangement under which it provides services, treatments, or supplies at a
       rate of payment and/or through any payment mechanism, which results [or will
       result in] lower [or equal] aggregate payments to the Provider by any such similar
       payor than BCBSNC's payments would produce under this Agreement.

       354.    There is direct evidence that, like its fellow member plans of BCBSA, Highmark

BCBS uses MFNs in its contracts with providers. Highmark BCBS's use of MFNs has raised the

costs of its competitors, has protected it from competition (and thereby protected its ever-

growing market share), and has contributed to the artificial inflation of its health insurance

premiums in Western Pennsylvania.

       355.   Multiple Highmark BCBS provider contracts, publicly available on PID's

website, evidence Highmark BCBS's recent and current use ofMFNs. Highmark BCBS's MFNs

in provider contracts come in at least two forms. In one type of provider contract, Highmark

BCBS defines "Usual Charges" as "the amount that the Provider bills other payors and/or

patients for the same services" and then states that "Highmark agrees to pay the Provider for

Provider Services provided to eligible Members and determined to be Covered Services the

lesser of (A) the payment due in accordance with Highmark's payment rates as currently in

effect at the time the Provider Services are rendered; or (b) one hundred percent (100%) of the

Provider's Usual Charges" (emphasis added). This type of MFN appeared in a Highmark BCBS


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freestanding renal dialysis ancillary provider agreement filed June 3, 2008; a Highmark BCBS

ground ambulance transport ancillary provider agreement filed June 3, 2008; a Highmark BCBS

durable medical equipment and/or respiratory therapy equipment ancillary provider agreement

filed June 3, 2008; a Highmark BCBS oncology ancillary provider agreement filed February 13,

2009; a Highmark BCBS home infusion therapy ancillary provider agreement filed August 25,

2009; a Highmark BCBS laboratory services ancillary provider agreement filed January 12,

2011; and potentially others.

       356.    In the second type of MFN, Highmark BCBS states that it will pay the contracting

provider a rate established by agreement "or one hundred percent (100%) of the [contracting

provider's] total covered charges for such services, whichever is less" (emphasis added). This

type of MFN appeared in a Highmark BCBS acute care facility agreement filed September 2,

2008; a Highmark BCBS freestanding ambulatory surgery facility agreement filed September 10,

2008; a Highmark BCBS managed care products hospital facility agreement filed September 15,

2008; a Highmark BCBS traditional products only hospital facility agreement filed September

15, 2008; a Highmark BCBS home health agency provider agreement filed September 26, 2008;

a Highmark BCBS long term acute care facility agreement filed October 9, 2008; a Highmark

BCBS home health agency provider agreement filed October 24, 2008; a Highmark BCBS

managed care products hospital facility agreement filed March 28, 2008; a Highmark BCBS

traditional products only hospital facility agreement filed March 28, 2008; a Highmark BCBS

traditional products only hospital facility agreement filed May 29, 2009; a Highmark BCBS

managed care products hospital facility agreement filed June 5, 2009; a Highmark BCBS

traditional products only hospital facility agreement filed June 5, 2009; a Highmark BCBS acute

care facility agreement filed June 16, 2009; and potentially others.



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        357.   There is direct evidence that, like its fellow member plans of BCBSA, BCBS-SC

uses MFNs in its contracts with providers. In a recent Post and Courier article, a BCBS-SC

spokesman admitted that BCBS-SC used MFNs, claiming that they are intended "to ensure that

our customers get the best possible pricing for their health care services" and "reflect our

intention to obtain the best value for our customers as we possibly can." Instead, BCBS-SC's

use of MFNs has raised the costs of its competitors, protected it from competition (and thereby

protected its ever-growing market share), and contributed to the artificial inflation of its health

insurance premiums in South Carolina.

       358.    In 2006, the South Carolina Legislature repealed a decades-old insurance code,

stripping the State's authority to regulate provider contracts between insurers and health care

providers. This deletion allows BCBS-SC to negotiate and execute provider contracts that

include MFNs, with no review or approval required from the South Carolina Department of

Insurance.


                           BCBS-SD's Market Power In South Dakota

Relevant Product Market:

       359.    The relevant product market is the sale of full-service commercial health

insurance products to individuals and small groups (up to 199 people).

       360.    To properly define a health insurance product market, it is useful to consider the

range of health insurance products for sale and the degree to which these products substitute for

one another, i.e., whether, in a competitive market, an increase in the price of one product would

increase demand for the second product. The characteristics of different products are important

factors in determining their substitutability. For a health insurance product, important

characteristics include:


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        361.   Commercial versus government health insurance:           Unlike commercial health

insurance products, government health insurance programs such as Medicare and Medicaid and

privately operated government health insurance programs such as Medicare Advantage are

available only to individuals who are disabled, elderly, or indigent. Therefore, commercial health

insurance and government health insurance programs are not substitutes.

       362.    Full-service versus single-service health insurance: Full-service health insurance

provides coverage for a wide range of medical and surgical services provided by hospitals,

physicians, and other health care providers. In contrast, single-service health insurance provides

narrow coverage restricted to a specific type of health care, e.g., dental care. Single-service

health insurance is sold as a compliment to full-service health insurance when the latter excludes

from coverage a specific type of health care, e.g., dental care. Thus, full-service health insurance

and single-service health insurance are not substitutes.

       363.    Full-service commercial health insurance includes HMO products and PPO

products, among others. Traditionally, HMO health insurance plans pay benefits only when

enrollees use in-network providers; PPO health insurance plans pay a higher percentage of costs

when enrollees use in-network providers and a lower percentage of costs when enrollees use out-

of-network providers. Both types of full-service commercial health insurers compete for

consumers based on the price of the premiums they charge, the quality and breadth of their

health care provider networks, the benefits they do or do not provide (including enrollees' out-

of-pocket costs such as deductibles, co-payment, and coinsurance), customer service, and

reputation, among other factors. Economic research suggests that HMO and PPO health

insurance products are substitutes.




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        364.   Fully-insured health insurance versus ASO products:             When a consumer

purchases a fully-insured health insurance product, the entity from which the consumer

purchases that product provides a number of services: it pays its enrollees' medical costs, bears

the risk that its enrollees' health care claims will exceed its anticipated losses, controls benefit

structure and coverage decisions, and provides "administrative services" to its enrollees, e.g.,

processes medical bills and negotiates discounted prices with providers. In contrast, when a

consumer purchases an administrative services only ("ASO") product, sometimes known as "no

risk," the entity from which the consumer purchases that product provides administrative

services only. Therefore, fully-insured health insurance products and ASO products are only

substitutes for those consumers able to self-insure, i.e., able to pay their own medical costs and

bear the risk that claims will exceed their anticipated losses.

       365.    Individual, small group, and large group consumers:           Consumers of health

insurance products include both individuals and groups, such as employers who select a plan to

offer to their employees and typically pay a portion of their employees' premiums. Group

consumers are broken down into two categories, small group and large group, based on the

number of persons in the group. The Kaiser Family Foundation, which publishes an influential

yearly survey of employer health benefits offered across the United States, defines small groups

as those with up to 199 employees and large firms as those with 200 or more employees.

       366.    For the purposes of market division, it is appropriate to consider the individual

and small group health insurance product market as distinct from the large group health

insurance product market. In the former, consumers are largely unable to self-insure and

competition is therefore restricted to plans that offer fully-insured health insurance products; in

the latter, consumers are able to self-insure and the bulk of competition occurs between firms



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offering ASO products. Across the United States, 84 percent of small group consumers do not

self-insure, while 83 percent of large group consumers do self-insure. Even apart from the

prevalence of ASO products in each market, individual, small group, and large group product

markets are distinct because health insurers can set different prices for these different consumers.

Thus, pricing in the large group market would not impact competition in the small group market,

and vice versa.


Relevant Geographic Markets:

       367.       In defining a geographic market, it is important to focus on an essential part of a

full-service commercial health insurer's product: its provider network. An insurer's provider

network is composed of the health care providers with which it contracts. Enrollees in both HMO

and PPO full-service commercial health insurance products pay less for an "in-network"

provider's health care services than they would for the same services from an "out of network"

provider. As a result, health insurance consumers pay special attention to an insurer's provider

network when choosing a health insurance product, preferring insurers with networks that

include local providers. This suggests that health insurers compete in distinct geographic

markets.

       368.       There are a number of different ways to analyze the geographic markets for the

sale of full-service commercial health insurance to individual and small group consumers of a

particular Individual Blue Plan. The potentially relevant geographic markets could be defined

alternatively as (a) that Blue Plan's service area; and (b) each of the regions, known as

"Metropolitan Statistical Areas," "Micropolitan Statistical Areas," and counties, into which the

U.S. Office of Management and Budget divides the counties that make up that service area.




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South Dakota Market Allegations

       369.    However the geographic market is defined, BCBS-SD has the dominant market

position, and exercises market power, in the sale of full-service commercial health insurance to

individuals and small groups in relevant geographic markets throughout the state of South

Dakota.

       370.    BCBS-SD does business throughout the state of South Dakota, is licensed to use

the Blue Cross and Blue Shield trademarks and trade names throughout the state of South

Dakota, and has agreed with the other member plans of BCBSA that only BCBS-SD will do

business in South Dakota under the Blue brand. Therefore, the state of South Dakota can be

analyzed as a relevant geographic market within which to assess the effects of BCBS-SD's

anticompetitive conduct. BCBS-SD held at least a 74% market share in the relevant individual

market and at least a 58% market share in the relevant small group market in 2013, an 83%

market share in the relevant individual market and 52% market in the relevant small group

market in 2011.

       371.    The U.S. Office of Management and Budget divides the 66 counties of South

Dakota into Metropolitan Statistical Areas and Micropolitan Statistical Areas according to

published standards applied to U.S. Census Bureau data. It states that "[t]he general concept of a

metropolitan or micropolitan statistical area is that of a core area containing a substantial

population nucleus, together with adjacent communities having a high degree of economic and

social integration with that core."    Therefore, each of South Dakota's three Metropolitan

Statistical Areas, nine Micropolitan Statistical Areas, and 45 counties that are not part of

Statistical Areas is a relevant geographic market within which to assess the effects of BCBS-

SD' s anticompetitive conduct. As of 2013, BCBS-SD was the largest insurer in the individual



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market in South Dakota with a market share of 74%. The second largest insurer held only 9% of

the market and the third largest had an 8% share of the healthcare market. In the small group

market for the same time frame, BCBS-SD had 58% market share, while the second largest

insurer captured 22%, and the third largest insurer held 12% market share.

       372.   BCBS-SD's powerful market share is far from the only evidence of its market

power. As alleged below, BCBS-SD's market power has significantly raised costs, resulting in

higher premiums for BCBS-SD enrollees, and costing South Dakota subscribers the opportunity

for lower, competitively-priced premiums.

                         Supra-Competitive Premiums Charged By BCBS-SD

       373.   From March 1, 2007 to the present, BCBS-SD's illegal anticompetitive conduct,

including its territorial market division agreements with the other members of the BCBSA, has

increased health care costs in South Dakota, leading to inflated and/or supra-competitive

premiums for individuals and small groups purchasing BCBS-SD's full-service commercial

health insurance in the relevant geographic markets, and further, depriving subscribers of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free

from the non-price restraints imposed by Defendants' anti-competitive agreements. BCBS-SD's

market power and its use of anticompetitive practices in South Dakota have reduced the amount

of competition in the market and ensured that BCBS-SD's few competitors face higher costs

than BCBS-SD does. Without competition, and with the ability to increase premiums without

losing customers, BCBS-SD faces little pressure to keep prices low.

       374.   Over the past decade, BCBS-SD generally raised individual and small group

premiums by amounts greater than the national average. In 2009, for example, BCBS-SD raised



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individual premiums by 14.5%, in 2011 by 8.3%, and in 2012 by another 8.7%. Likewise, it

raised its group premiums by 7.7% in 2011, and by 5.7% in 2012.

           375.   Plaintiffs were damaged, both by paying supra-competitive premiums, which are

to be calculated by estimating the premiums that would have been actually charged to consumers

but for the Individual Blue Plans' antitrust violations, not the base rates or rate "schedules" filed

with a state agency, and by being denied access to lower and/or competitively-priced health

insurance products that could and would have been offered in South Dakota by other Individual

Blue Plans, or their non-Blue affiliates, but for Defendants' unreasonable geographic market

allocations.

           376.   These rising premiums have enabled BCBS-SD to lavishly compensate its

executives and grow its surplus in excessive amounts, unusual practices for a self-described non-

profit organization. For example, for the year ending 2008, BCBS-SD had a surplus of

$124,663,164. By 2012, Wellmark, the parent company ofBCBS-SD, held a surplus of over $1

billion.


                    State Insurance Laws Do Not Protect Subscribers from the
                                    Market Allocation Scheme

           377.   Defendants that have conspired to allocate markets and thereby not enter a market

of another Blue Plan do not file rates in the markets that they have not entered. Those Defendants

are also not subject to state insurance regulatory authorities for the markets they have not

entered. Thus, neither the BCBSA, nor any of the Individual Blue Plan defendants other than

BCBS-SD filed any rate within South Dakota.

           378.   Further, BCBSA is not regulated by state insurance regulatory authorities,

including in South Dakota.



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       379.    The state insurance authorities in South Dakota do not regulate the division of

markets and allocation of customers that is the subject of this Complaint.

       380.    The South Dakota Division of Insurance does not clearly articulate and

affirmatively permit as state policy the challenged restraints on trade that are the subject of this

Complaint, i.e., division of markets and allocation of customers. Nor does the South Dakota

Division of Insurance actively supervise the challenged restraints on trade that are the subject of

this Complaint.

       381.    No Defendant Individual Blue Plan, including BCBS-SD, filed its msurance

rate(s) with a federal regulatory agency.

       382.    No Defendant Individual Blue Plan disclosed the challenged restraints on trade

that are the subject of this Complaint to any insurance authority.

       383.    The conspiracy alleged in this Complaint hindered the development of the South

Dakota health care markets defined herein, because the Defendant Individual Blue Plans acted to

inhibit lower cost competitors from entering such markets.

       384.    The Defendant Individual Blue Plans breached their duties of good faith and fair

dealing with subscribers.


                                   VIOLATIONS ALLEGED

                                           Count One
                   (Contract, Combination, or Conspiracy in Restraint of Trade
                             in Violation of Sherman Act, Section 1)
                                (Asserted Against All Defendants)

       385.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       386.    The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-SD, the other Individual Blue Plans, and BCBSA represent horizontal agreements entered



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into between BCBS-SD and the other Individual Blue Plans, all of whom are competitors or

potential competitors in the market for commercial health insurance.

       387.       Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBSA and the Individual Blue Plan Defendants represents a contract,

combination and/or conspiracy within the meaning of Section 1 of the Sherman Act.

       388.       Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-SD, and the other Individual Blue Plan Defendants have agreed to divide and

allocate the geographic markets for the sale of commercial health insurance into a series of

exclusive areas for each of the Individual Blue Plans. By so doing, the Individual Blue Plans

(including BCBS-SD) and the BCBSA have conspired to restrain trade in violation of Section 1

of the Sherman Act. These market allocation agreements are per se illegal under Section 1 of the

Sherman Act.

       389.       The market allocation agreements entered into among BCBS-SD, BCBSA, and

the other Individual Blue Plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       390.       BCBS-SD has market power in the sale of full-service commercial health

insurance to individuals and small groups in each relevant geographic and product market

alleged herein.

       391.       Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:

                  a. Reducing the number of health insurance companies competing with BCBS-

                     SD throughout South Dakota;




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              b. Unreasonably limiting the entry of competitor health insurance companies

                  into South Dakota;

              c. Allowing BCBS-SD to maintain and enlarge its market power throughout

                  South Dakota;

              d. Allowing BCBS-SD to supra-competitively raise the premiums charged to

                  consumers by artificially inflated, unreasonable, and/or supra-competitive

                  amounts; and

              e. Depriving the Plaintiffs and Class members and other consumers of health

                  insurance of the benefits of free and open competition.

       392.   The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       393.   The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of Section 1 of the Sherman

Act. The conspiracy to allocate markets and restrain trade adversely affects consumers in this

State and around the nation by depriving such consumers, among other things, of the opportunity

to purchase insurance from a lower cost competitor and/or at a price set by a market free from

the non-price restraints imposed by the alleged anti-competitive agreements. As a result of the

Defendants' market allocation agreement and related restraints, the other Individual Blue Plans

have not marketed individual and/or small group commercial health insurance products in

BCBS-SD's] service area and have been precluded by such agreements and restraints from doing

so.

       394.   As a direct and proximate result of the Individual Blue Plans' continuing

violations of Section 1 of the Sherman Act described in this Complaint, Plaintiffs and other



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members of the Class have suffered injury and damages in an amount to be proven at trial. These

damages consist of having paid artificially inflated, unreasonable, and/or supra-competitive and

higher health insurance premiums to BCBS-SD than they would have paid with increased

competition and but for the Sherman Act violations, and further, of being deprived of the

opportunity to purchase health insurance from one or more of the other Individual Blue Plans

and/or their non-Blue affiliates, at a lower premium rate and/or at a price set by a market free

from the non-price restraints imposed by Defendants' anti-competitive agreements.

       395.    Plaintiffs and the Class seek money damages from all Defendants for their

violations of Section 1 of the Sherman Act.

                                           Count Two
           (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
              for Private Health Insurance in Violation of Sherman Act, Section 2)
                                  (Asserted Against BCBS-SD)

       396.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       397.    BCBS-SD has monopoly power in the individual and small group full-service

commercial health insurance market in South Dakota. This monopoly power is evidenced by,

among other things, BCBS-SD's high market share of the commercial health insurance market,

including its increasing market share even as it has raised premiums.

       398.     BCBS-SD has abused and continues to abuse its monopoly power to maintain

and enhance its market dominance by unreasonably restraining trade, thus artificially inflating

the premiums it charges to consumers.

       399.    BCBS-SD's conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of Section 2 of the Sherman Act, and

such violation and the effects thereof are continuing and will continue unless injunctive relief is

granted.


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          400.   As a direct and proximate result of the Individual Blue Plans' continuing

violations of Section 2 of the Sherman Act described in this Complaint, Plaintiffs and other

members of the South Dakota Class have suffered injury and damages in an amount to be proven

at trial. These damages consist of having paid artificially inflated, unreasonable, and/or supra-

competitive and higher health insurance premiums to BCBS-SD than they would have paid but

for the Sherman Act violations.

          401.   Plaintiffs and the South Dakota Class seek money damages from BCBS-SD for its

violations of Section 2 of the Sherman Act.

                                             Count Three
                      (Willful Attempted Monopolization in the Relevant Market
                 for Private Health Insurance in Violation of Sherman Act, Section 2)
                                     (Asserted Against BCBS-SD)

          402.   Plaintiffs repeat and reallege the allegations in all Paragraphs above.

          403.   BCBS-SD has acted with the specific intent to monopolize the relevant markets.

          404.   There was and is a dangerous possibility that BCBS-SD will succeed in its

attempt to monopolize the relevant markets because BCBS-SD controls a large percentage of

those markets already, and further success by BCBS-SD in excluding competitors from those

markets will confer a monopoly on BCBS-SD in violation of Section 2 of the Sherman Act.

          405.   BCBS-SD's attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the South Dakota Class.

Premiums charged by BCBS-SD have been higher than they would have been in a competitive

market.

          406.   Plaintiffs and the South Dakota Class have been damaged as the result of BCBS-

SD's attempted monopolization of the relevant markets.

                                             Count Four


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                   (Contract, Combination, or Conspiracy in Restraint of Trade
                          in Violation of S.D. Codified Laws§ 37-1-3.l
                                (Asserted Against All Defendants)

       407.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       408.    The License Agreements, Membership Standards, and Guidelines agreed to by

BCBS-SD, the Individual Blue Plans and BCBSA represent horizontal agreements entered into

between BCBS-SD and the Individual Blue Plans, all of whom are competitors or potential

competitors in the market for commercial health insurance.

       409.    Each of the License Agreements, Membership Standards, and Guidelines entered

into between BCBS-SD, BCBSA and the other Individual Blue Plans represents a contract,

combination and/or conspiracy within the meaning of S.D. Codified Laws§ 37-1-3.1.

       410.    Through the License Agreements, Membership Standards, and Guidelines,

BCBSA, BCBS-SD, and the other Individual Blue Plans have agreed to divide and allocate the

geographic markets for the sale of commercial health insurance into a series of exclusive areas

for each of the thirty-six BCBSA members. By so doing, the BCBSA members (including

BCBS-SD) have conspired to restrain trade in violation of S.D. Codified Laws§ 37-1-3.1, These

market allocation agreements are per se illegal under S.D. Codified Laws § 37-1-3.1.

       411.    The market allocation agreements entered into between BCBS-SD and the other

BCBSA member plans (executed through the BCBSA License Agreements and related

Membership Standards and Guidelines) are anticompetitive.

       412.    Each of the challenged agreements has had substantial and unreasonable

anticompetitive effects in the relevant markets, including but not limited to:


           a. Reducing the number of health insurance companies competing with BCBS-SD
              throughout South Dakota;



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           b. Unreasonably limiting the entry of competitor health insurance companies into

                 South Dakota;

           c. Allowing BCBS-SD to maintain and enlarge its market power throughout South

                 Dakota;

           d. Allowing BCBS-SD to supra-competitively raise the premmms charged to

                 consumers by artificially inflated, unreasonable, and/or supra-competitive

                 amounts; and

           e. Depriving Class members and other consumers of health insurance of the benefits

                 of free and open competition.

       413.      The procompetitive benefits, if any, of the market allocation agreements alleged

above do not outweigh the anticompetitive effects of those agreements.

       414.      The market allocation agreements in the License Agreements, Membership

Standards, and Guidelines unreasonably restrain trade in violation of S.D. Codified Laws § 37-1-

3.1. The conspiracy to allocate markets and restrain trade adversely affects consumers in South

Dakota and around the nation by depriving such consumers, among other things, of the

opportunity to purchase insurance from a lower cost competitor and/or at a price set by a market

free from the non-price restraints imposed by the alleged anti-competitive agreements. As a

result of the Defendants' market allocation agreement and related restraints, the other Individual

Blue Plans have not marketed individual and/or small group commercial health insurance

products in BCBS-SD's service area and have been precluded by such agreements and restraints

from doing so.

       415.      As a direct and proximate result of the Individual Blue Plans' continuing

violations of S.D. Codified Laws § 37-1-3.1 described in this Complaint, Plaintiffs and other



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members of the South Dakota Class have suffered injury and damages in an amount to be proven

at trial. These damages consist of having paid artificially inflated, unreasonable, and/or supra-

competitive and higher health insurance premiums to BCBS-SD than they would have paid with

increased competition and but for the violations of S.D. Codified Laws § 37-1-3.1, and further,

of being deprived of the opportunity to purchase health insurance from one or more of the other

Individual Blue Plans and/or their non-Blue affiliates at a lower premium rate and/or at a price

set by a market free from the non-price restraints imposed by Defendants' anti-competitive

agreements.

       416.    Plaintiffs and the South Dakota Class seek money damages under S.D. Codified

Laws § 37-1-3.1 from BCBS-SD, the other Individual Blue Plans and BCBSA for their

violations of S.D. Codified Laws§ 37-1-3.1.

                                           Count Five
          (Willful Acquisition and Maintenance of a Monopoly in the Relevant Market
           for Private Health Insurance in Violation of S.D. Codified Laws§ 37-1-3.2)
                                  (Asserted Against BCBS-SD)

       417.   Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       418.   BCBS-SD has monopoly power in the individual and small group full-service

commercial health insurance market in South Dakota. This monopoly power is evidenced by,

among other things, BCBS-SD's high market share of the commercial health insurance market,

including its increasing market share even as it has raised premiums.

       419.    BCBS-SD has abused and continues to abuse its monopoly power to maintain and

enhance its market dominance by unreasonably restraining trade, thus artificially inflating the

premiums it charges to consumers.

       420.    BCBS-SD's conduct constitutes unlawful monopolization and unlawful anti-

competitive conduct in the relevant markets in violation of S.D. Codified Laws§ 37-1-3.2, and


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such violation and the effects thereof are continuing and will continue unless injunctive relief is

granted.

          421.   As a direct and proximate result of the Individual Blue Plans' continuing

violations of S.D. Codified Laws § 37-1-3.2 described in this Complaint, Plaintiffs and other

members of the South Dakota Class have suffered injury and damages in an amount to be proven

at trial. These damages consist of having paid artificially inflated, unreasonable, and/or supra-

competitive and higher health insurance premiums to BCBS-SD than they would have paid but

for the violations of S.D. Codified Laws§ 37-1-3.2

          422.   Plaintiffs and the South Dakota Class seek money damages from BCBS-SD for its

violations of S.D. Codified Laws§ 37-1-3.2.

                                             Count Six
                     (Willful Attempted Monopolization in the Relevant Market
             for Private Health Insurance in Violation of S.D. Codified Laws§ 37-1-3.2
                                    (Asserted Against BCBS-SD)

          423.   Plaintiffs repeat and reallege the allegations in all Paragraphs above.

          424.   BCBS-SD has acted with the specific intent to monopolize the relevant markets.

          425.   There was and is a dangerous possibility that BCBS-SD will succeed in its

attempt to monopolize the relevant markets because BCBS-SD controls a large percentage of

those markets already, and further success by BCBS-SD in excluding competitors from those

markets will confer a monopoly on BCBS-SD in violation of S.D. Codified Laws§ 37-1-3.2

          426.   BCBS-SD's attempted monopolization of the relevant markets has harmed

competition in those markets and has caused injury to Plaintiffs and the -South Dakota Class.

Premiums charged by BCBS-SD have been higher than they would have been in a competitive

market.




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       427.    Plaintiffs and the South Dakota Class have been damaged as the result of BCBS-

SD's attempted monopolization of the relevant markets.

                                          Count Seven
                                      (Unjust Enrichment)
                                  (Asserted Against BCBS-SD)

       428.    Plaintiffs repeat and reallege the allegations in all Paragraphs above.

       429.    Plaintiffs and the South Dakota Class have conferred a benefit upon BCBS-SD in

the form of artificially high and/or supracompetitive premiums paid to BCBS-SD. Such benefit

was conferred upon BC BS-SD to the detriment of Plaintiffs and the South Dakota Class.

       430.   BCBS-SD has benefitted from its unlawful acts through Plaintiffs' and the South

Dakota Class's overpayments for health insurance premiums to BCBS-SD.

       431.   It would be inequitable for BC BS-SD to be permitted to retain the benefit of these

supra-competitive premiums that were conferred by Plaintiffs and the South Dakota Class and

retained by BCBS-SD.

       432.   In equity, BCBS-SD should not be allowed to retain the economic benefit derived

from said improper conduct and should be ordered to pay restitution and pre-judgment interest to

Plaintiffs and the South Dakota Class.


                                         JURY DEMAND

       Plaintiffs demand a trial by jury.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiffs request that this Court:

       a.      Determine that this action may be maintained as a class action under Fed. R. Civ.

               P. 23;




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       b.      Adjudge and decree that BCBS-SD and all other Defendants have violated both

               Section 1 and Section 2 of the Sherman Act;

       c.      Adjudge and decree that BCBS-SD and all other Defendants have violated S.D.

               Codified Laws §§ 37-1-3.1-.2 and award Plaintiffs and the South Dakota Class

               appropriate damages and relief;

       d.      Enjoin Defendants from entering into, or from honoring or enforcing, any

               agreements that restrict them from competing within the state of South Dakota;

       e.      Award Plaintiffs and the Class treble damages;

       f.      Award costs and attorneys' fees to Plaintiffs;

       g.      Conduct a trial by jury; and

       h.


This the    ~ay of April, 2016.               R


                                              ~tSargent
                                              MEIERHENRY·S~AR-G-ENT- I.:
                                              315 South Phillips A venue
                                              Sioux Falls, SD 57104
                                              605-336-3075
                                              605-336-2593 facsimile
                                              clint@meierhenrylaw.com

                                              Daniel E. Gustafson (MN# 202241)
                                              Daniel C. Hedlund (MN# 258337)
                                              Daniel J. Nordin (MN# 392393)
                                              GUSTAFSON GLUEK PLLC
                                              120 South Sixth Street, Suite 2600
                                              Minneapolis, MN 55402
                                              Tel: (612) 333-8844
                                              Fax: (612) 339-6622
                                              dgustafson@gustafsongluek.com
                                              dhedlund@gustafsongluek.com
                                              dnordin@gustafsongluek.com



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                                    Patrick W. Pendley (LSBA #10421)
                                    Pendley, Baudin & Coffin, LLP
                                    P. 0. Drawer 71
                                    Plaquemine, Louisiana 70765-0071
                                    (225) 687-6396- Voice
                                    (225) 687-6398- Telefax
                                    pwpendley@pbclawfirm.com


                                    Benjamin L. Barnes
                                    Oklahoma State Bar No. 16173
                                    Centennial Plaza
                                    2575 Kelley Pointe Parkway, Suite 100
                                    Edmond, Oklahoma 73013
                                    Tel: 405-330-9860
                                    Fax: 405-231-4701
                                    bb@bbameslaw.com

                                    Attorneys for Plaintiffs




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